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                                                    UNDER SEAL


                         UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA


   PAINTERS AND ALLIED TRADES                 Case No. 2:17-cv-07223-JWH-AS
      DISTRICT COUNCIL 82 HEALTH
      CARE FUND, a third-party healthcare
      payor fund,                             MEMORANDUM OPINION AND
   ANNIE M. SNYDER, a California              ORDER ON MOTION FOR CLASS
      consumer,                               CERTIFICATION [ECF No. 229]
   RICKEY D. ROSE, a Missouri consumer,
   JOHN CARDARELLI, a New Jersey
      consumer,
   MARLYON K. BUCKNER, a Florida
      consumer, and
   SYLVIE BIGORD, a Massachusetts
      consumer, on behalf of themselves and
      ALL others similarly situated,
               Plaintiffs,
         v.
   TAKEDA PHARMACEUTICAL
      COMPANY LIMITED, a Japanese
      corporation;
   TAKEDA PHARMACEUTICALS USA,
      Inc., an Illinois corporation (fka
      TAKEDA PHARMACEUTICALS
      NORTH AMERICA, Inc.); and
   ELI LILLY & COMPANY, an Indiana
      corporation,
               Defendants.
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         Before the Court is the motion of Plaintiff Painters and Allied Trades District
   Council 82 Health Care Fund (“Painters”) and Plaintiff Annie M. Snyder (jointly,
   “Plaintiffs”) for the following relief:

       • to certify two classes—a National Third-Party Payer (“TPP”) Class and a
         California Consumer Class;
       • to appoint Painters and Snyder as representatives of those two classes,
         respectively;
       • to appoint attorneys R. Brent Wisner, Michael L. Baum, and Christopher L. Coffin
         as Class Counsel; and
       • to direct Class Counsel to propose a comprehensive notice plan for each class.1

   Defendant Takeda Pharmaceuticals USA, Inc. and its parent company Defendant Takeda
   Pharmaceutical Company Limited (jointly, “Takeda”) oppose Plaintiffs’ Motion to
   Certify.2 Defendant Eli Lilly & Company (“Lilly”) filed a joinder to Takeda’s
   Opposition.3 After conducting a hearing and considering the voluminous papers filed in
   support and in opposition,4 the Court orders that the Motion is GRANTED with respect

   1
           Mot. for Class Certification (the “Motion to Certify”) [ECF No. 229]; see also
   Unredacted Mot. for Class Certification (the “Sealed Motion to Certify”) [ECF No. 234].
   2
           Takeda’s Opp’n to Pls.’ Motion (the “Opposition”) [ECF No. 247]; Takeda’s
   Unredacted Opp’n to Pls.’ Motion (the “Sealed Opposition”) [ECF No. 248].
   3
           Lilly’s Joinder in the Opposition (the “Joinder”) [ECF No. 239]; Lilly’s Unredacted
   Joinder in the Opposition (the “Sealed Joinder”) [ECF No. 251].
   4
           The Court considered the documents of record in this case, including the following (as
   well as their attachments):
       •   Second Am. Compl. (the “Amended Complaint”) [ECF No. 127];
       •   Motion to Certify;
       •   Sealed Motion to Certify;
       •   Opposition;
       •   Sealed Opposition;
       •   Joinder;
       •   Sealed Joinder;
       •   Pls.’ Reply in Supp. of the Motion (the “Reply”) [ECF No. 257];
       •   Pls.’ Unredacted Reply in Supp. of the Motion (the “Sealed Reply”) [ECF No. 260-1];
       •   Pls.’ Reply to the Joinder (the “Reply to Joinder”) [ECF No. 261-1];
       •   Pls.’ Unredacted Reply to the Joinder (the “Sealed Reply to Joinder”) [ECF No. 271-1];
       •   Pls.’ Suppl. Brief Regarding Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC
           (“Plaintiffs’ Supplemental Brief”) [ECF No. 310];
       •   Defs.’ Suppl. Brief in Opp’n to Class Certification (“Defendants’ Supplemental Brief”)
           [ECF No. 311];
       •   Pls.’ Not. of Suppl. Authority (“Plaintiffs’ Notice”) [ECF No. 315];
       •   Defs.’ Response to Plaintiffs’ Notice (“Defendants’ Response”) [ECF No. 316];
       •   Pls.’ [Second] Not. of Suppl. Authority (“Plaintiffs’ Second Notice”) [ECF No. 317];
       •   Defs.’ Response to Plaintiffs’ Second Notice (“Defendants’ Second Response”) [ECF
           No. 318];


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   to the National TPP Class and DENIED with respect to the California Consumer Class,
   for the reasons set forth herein.


                                        I. BACKGROUND

   A.       Procedural History

           This putative class action was originally filed as part of a multi-district litigation
   pending in the Western District of Louisiana, MDL No. 6:11-md-2299 (the “MDL
   Court”). The MDL Court consolidated various claims asserted across the country
   related to the drug Actos.5 This case differs from the MDL cases because Plaintiffs here
   do not assert personal injury or product liability claims. Rather, they allege that Takeda
   and Lilly conspired to market Actos fraudulently by concealing the association between its
   use and its users’ subsequent development of bladder cancer.6 In September 2017, the
   MDL Court ordered this case transferred to this district.7 Three months later, Plaintiffs
   filed the presently operative pleading—the Amended Complaint—in which they assert
   claims for relief under the Racketeer Influenced and Corrupt Organizations Act, 18
   U.S.C. §§ 1961–1968 (“RICO”), and state consumer fraud laws.8

           In February 2018, the Court dismissed the case, finding that Plaintiffs had not
   adequately pleaded causation.9 That decision was reversed by the Ninth Circuit in
   Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda Pharm. Co. Ltd., 943
   F.3d 1243 (9th Cir. 2019), cert. denied, 141 S. Ct. 86 (2020) (“Painters & Allied Trades”).
   The Ninth Circuit held that Plaintiffs adequately alleged proximate causation to support
   their civil RICO claim, and it remanded the case to this Court for further proceedings. Id.
   at 1260.




        • Pls.’ [Third] Not. of Suppl. Authorities (“Plaintiffs’ Third Notice”) [ECF No. 321];
        • Defs.’ Response to Plaintiffs’ Third Notice (“Defendants’ Third Response”) [ECF
          No. 322];
      • Defs.’ Not. of Suppl. Authority (“Defendants’ Notice”) [ECF No. 323]; and
      • Pls.’ Response to Defendants’ Notice (“Plaintiffs’ Response”)[ECF No. 324].
   5
          ACTOS is a registered trademark of Takeda Pharmaceutical Company Limited, Reg.
   No. 2307686.
   6
          See generally Amended Complaint.
   7
          Order on Mot. to Transfer Case [ECF No. 55].
   8
            See Amended Complaint ¶¶ 55-74.
   9
            See Order Partially Granting Mot. to Dismiss [ECF No. 140].


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          In August 2020, Takeda again moved to dismiss.10 Lilly filed a joinder11 in which it
   adopted the contentions in Takeda’s Motion to Dismiss and raised additional arguments
   specific to Lilly. In February 2021, this Court denied both motions.12

          In July 2021, Plaintiffs moved to certify the National TPP Class and the California
   Consumer Class.13 Takeda opposed two months later, and Lilly joined.14 Plaintiffs
   replied in support of the Motion to Certify in November 2021 and submitted a corrected
   response to Lilly’s joinder shortly thereafter.15 After several stipulated continuances, the
   Court conducted a lengthy hearing on the Motion to Certify in March 2022.

           About a month after that hearing, the Ninth Circuit issued an en banc decision in
   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651 (9th Cir. 2022)
   (“Olean”). Because the parties’ initial briefing relied on the previously vacated decision
   in Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 993 F.3d 774 (9th Cir.
   2022),16 the Court ordered supplemental briefing,17 which the parties filed in April 2022.18
   Four months later the parties sua sponte filed supplemental briefs regarding a decision
   issued by a court in the Northern District of California, In re Juul Labs, Inc., Marketing
   Sales Practices and Products Liability Litigation, 2022 WL 2343268 (N.D. Cal. June 28,
   2022).19 Plaintiffs contend that Juul Labs supports their position in support of
   certification of the California Consumer Class, and Takeda and Lilly disagree. In
   November 2022, Plaintiffs alerted the Court that the Supreme Court denied a petition for
   certiorari in Olean, and Takeda and Lilly responded a few days later by again arguing that
   Olean is substantively different from the instant case.20 In February 2023, Plaintiffs


   10
           Takeda’s Mot. to Dismiss Under Rules 12(b)(6) and 9(b) and/or Mot. to Strike Class
   Allegations Under Rule 12(f) (the “Motion to Dismiss”) [ECF No. 173].
   11
          Lilly’s Joinder in the Motion to Dismiss (the “Joinder to the Motion to Dismiss”) [ECF
   No. 174].
   12
          Order on the Motion to Dismiss and Joinder to the Motion to Dismiss [ECF No. 206].
   13
          See generally Motion to Certify.
   14
           See generally Opposition & Joinder. Initially Takeda filed its Opposition as ECF No. 238
   on the docket but refiled on September 29 as ECF No. 247. The Court refers to only the latest
   filing.
   15
           See generally Reply; Reply to Joinder.
   16
          See, e.g., Sealed Motion to Certify 5:3-7, 28:21, & 31:9-11; Sealed Opposition 7:25-28 &
   11:27-28.
   17
          See Order Regarding Suppl. Briefing [ECF No. 309].
   18
          See generally Plaintiffs’ Supplemental Brief & Defendants’ Supplemental Brief.
   19
          See Plaintiffs’ Notice; Defendants’ Response.
   20
          See Plaintiffs’ Second Notice; Defendants’ Second Response.


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   provided the Court with notice of two recent orders in which district courts addressed
   motions for class certification—Turrey v. Vervent, Inc., 2023 WL 163200 (S.D. Cal.
   Jan. 11, 2023), and In re National Football League’s Sunday Ticket Antitrust Litig., 2023
   WL 1813530 (C.D. Cal. Feb. 7, 2023)—and Takeda and Lilly provided their response a
   week later.21 Finally, in March 2023, Takeda and Lilly invited the Court’s attention to
   Van v. LLR, Inc., 61 F.4th 1053 (9th Cir. 2023), in which the Ninth Circuit vacated and
   remanded a district court’s order granting class certification.22 Plaintiffs responded that
   Van actually supports their instant Motion to Certify.23

   B.     Factual Summary

          Takeda and Lilly developed and marketed a diabetes drug called Actos. Painters &
   Allied Trades, 943 F.3d at 1246. Takeda obtained Food and Drug Administration
   (“FDA”) approval for Actos in 1999. Id. Plaintiffs “allege that despite learning through
   multiple studies over the next several years that Actos increased a patient’s risk of
   developing bladder cancer, Defendants refused to change Actos’s warning label or
   otherwise inform the public of such risk.” Id.

           Plaintiffs contend that Takeda and Lilly misled the FDA regarding the risk of
   bladder cancer by generating false studies, manipulating study results, and controlling the
   messaging about Actos to conceal aspects of the drug’s mechanism that could have raised
   concerns.24 Plaintiffs also allege that Takeda and Lilly misled prescribing physicians,
   consumers, and third-party payors into believing that Actos did not create an increased
   risk of bladder cancer.25 According to Plaintiffs, Takeda and Lilly had reason to know
   about the increased bladder cancer risk, but they chose not to disclose that risk in order to
   increase their profits from the sale of Actos.26

          After the bladder cancer risk became known, a group of patients who developed
   bladder cancer—along with their families—sued Takeda and Lilly, asserting personal
   injury and wrongful death claims. Those claims were consolidated before the MDL Court
   in the Western District of Louisiana. See Painters & Allied Trades, 943 F.3d at 1246.27
   The MDL Court conducted a 37-day bellwether trial in 2014, and the jury returned a


   21
          See Plaintiffs’ Third Notice; Defendants’ Third Response.
   22
          See Defendants’ Notice.
   23
          See Plaintiffs’ Response.
   24
          See, e.g., Amended Complaint ¶¶ 29-35, 48-50, 59-63, 70-87, & 95.
   25
          See, e.g., id. at ¶¶ 1, 44, 45, 60-62, 67, 79, 85-87, 100, 134, & 135.
   26
          See, e.g., id. at ¶¶ 25-28, 36, & 95.
   27
          See also id. at ¶¶ 121-26.


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   verdict in favor of those patients and their families.28 The MDL Court concluded, among
   other things, that “the Plaintiffs presented evidence that the Defendants were aware of
   the risk of death by way of bladder cancer associated with Actos® use and that they chose
   to conceal and obfuscate those risks in order to sell more product and to increase their
   profit.”29 In re Actos (Pioglitazone) Prod. Liab. Litig., 2014 WL 12776173, at *36 (W.D. La.
   Sept. 5, 2014).

          The instant action was filed by Painters, a third-party payor, and five individual
   patients.30 The individual patients allege that neither they nor their physicians knew that
   Actos use increased the risk of bladder cancer, and they aver that they would not have
   purchased Actos if they had known of its risks.31 As a result of the “fraudulent
   concealment of the bladder cancer risk,” Painters says that it “reimbursed a significant
   number of claims at potentially elevated prices for Actos” that would not have been
   reimbursed “but for the fraud.”32

          That theory of causation is known as the “quantity effect theory.” Painters &
   Allied Trades, 943 F.3d at 1247. In support of their theory, Plaintiffs offer evidence of
   emails, testimony, and internal marketing studies, some dating back to 1999, that suggest
   that Takeda and Lilly were aware that language linking Actos to bladder cancer would
   reduce sales of Actos.33 If true, that foresight was prescient, because sales of Actos began
   to decline in 2010 when the FDA announced that it would investigate Actos for bladder
   cancer risk. Sales dropped even more precipitously after a bladder cancer warning was
   added to the Actos label in August 2011.34 Plaintiffs provide evidence of reports studying
   the causal relationship between the use of Actos and bladder cancer taken from internal
   Takeda researchers and external academic researchers.35 Lastly, Plaintiffs introduce an
   econometric regression model from their expert, Dr. William S. Comanor.36 His analysis
   found—with an R2 value of 99%—that, had a bladder cancer warning been issued from the


   28
           Id. at ¶ 124. The parties later “agreed to a global settlement program for all eligible
   personal injury claimants who used Actos before December 1, 2011 and had been diagnosed with
   bladder cancer.” Painters & Allied Trades, 943 F.3d at 1246 (citing In re Actos (Pioglitazone) Prods.
   Liab. Litig., 274 F. Supp. 3d 485, 503 (W.D. La. 2017)).
   29
          Amended Complaint ¶ 126.
   30
          Amended Complaint ¶¶ 2-7.
   31
          Id. at ¶¶ 139-205.
   32
          Id. at ¶ 138.
   33
          Sealed Motion to Certify 19:2-22:19.
   34
          Id. at 22:22-23:23.
   35
          Id. at 23:24-27:10.
   36
          Id. at 28:9-17.


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   beginning, TPPs would have paid for 56% fewer Actos prescriptions during the class
   period.37


                                   II. LEGAL STANDARD

          The class action is “an exception to the usual rule that litigation is conducted by
   and on behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564
   U.S. 338, 348 (2011) (internal quotations omitted). To certify a class, “plaintiffs must
   prove the facts necessary to carry the burden of establishing that the prerequisites of
   Rule 23 are satisfied by a preponderance of the evidence.” Olean, 31 F.4th at 665.

           Rule 23(a) imposes the following requirements for the certification of a class:
   (1) the class is so numerous that a joinder of all members is impracticable (numerosity);
   (2) there are questions of law or fact common to the class (commonality); (3) the claims
   or defenses of the representative parties are typical of the claims or defenses of the class
   (typicality); and (4) the representative parties will fairly and adequately protect the
   interests of the class (adequacy). See Fed. R. Civ. P. 23(a). “A plaintiff seeking class
   certification bears the burden of affirmatively demonstrating through evidentiary proof
   that the class meets the prerequisites of Rule 23(a).” Sali v. Corona Reg’l Med. Ctr., 909
   F.3d 996, 1003–04 (9th Cir. 2018) (internal quotations omitted).

           In addition, at least one element of Rule 23(b) must be satisfied for a court to
   certify a class. See Fed. R. Civ. P. 23(b). Here, Plaintiffs focus on the third element—i.e.,
   predominance and superiority38—which would allow this Court to certify a class where:

          the court finds that the questions of law or fact common to class members
          predominate over any questions affecting only individual members, and that
          a class action is superior to other available methods for fairly and efficiently
          adjudicating the controversy. The matters pertinent to these findings
          include:

                  (A) the class members’ interests in individually controlling the
                  prosecution or defense of separate actions;

                  (B) the extent and nature of any litigation concerning the controversy
                  already begun by or against class members;




   37
          Id. at 29:8-30:7.
   38
          See generally id.


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                  (C) the desirability or undesirability of concentrating the litigation of
                  the claims in the particular forum; and

                  (D) the likely difficulties in managing a class action.

   Fed. R. Civ. P. 23(b)(3). With respect to the predominance element, what matters is not
   merely “the raising of common questions,” but, rather, “the capacity of a class-wide
   proceeding to generate common answers apt to drive the resolution of the litigation.”
   Dukes, 564 U.S. at 350 (internal quotations omitted).

          Lastly, the Court observes that its decision on this Motion to Certify is preliminary
   in nature, because an “order that grants or denies class certification may be altered or
   amended before final judgment.” Fed. R. Civ. P. 23(c)(1)(C).


                       III. THE AMENDED NATIONAL TPP CLASS

          Plaintiffs seek to certify a nationwide class of TPPs for Plaintiffs’ civil RICO claims
   against Takeda and Lilly.39 In view of issues raised in Takeda’s briefs, Plaintiffs amended
   their definition of the putative National TPP Class from what appears in the Amended
   Complaint.40 Plaintiffs now define that class as:

          All third-party payers (“TPPs”) in the United States and its territories, that
          purchased, paid for, and/or reimbursed all or any portion of the price for
          Actos, ActosPlus MET, ActosPlus MET XR, Duetact, and/or Oseni, for 5
          or more independent prescriptions, between July 1, 1999 and September 17,
          2010, for purposes other than resale. Excluded from this class are any TPPs
          that have released claims covered by this lawsuit.41

          As discussed below, Plaintiffs’ proposed National TPP Class easily satisfies the
   four mandatory requirements under Rule 23(a). Plaintiffs also succeed in showing that
   the class action form is superior, thereby satisfying one of two prongs of Rule 23(b)(3).
   The heart of the dispute over the certification of the National TPP Class is the final prong



   39
          Amended Complaint ¶¶ 127 & 239-51 (alleging that (1) Takeda and Lilly conducted an
   enterprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c) and,
   additionally and in the alternative, (2) Takeda and Lilly conspired to conduct or participate in the
   conduct of an enterprise through a pattern of racketeering activity in violation of 18 U.S.C.
   § 1962(d)).
   40
          Sealed Reply 1:26-28.
   41
          Id. at 2:1-3; see also Amended Complaint ¶ 222.


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   of Rule 23(b)(3): do common questions of law and fact predominate over Plaintiffs’
   RICO claims? The Court answers that question in the affirmative.

   A.     Rule 23(a) Requirements

          “Rule 23(a) ensures that the named plaintiffs are appropriate representatives of
   the class whose claims they wish to litigate.” Dukes, 564 U.S. at 349.

          1.      Numerosity

         Takeda’s documents reveal that there are hundreds, if not thousands, of TPPs in
   the United States that reimbursed Actos prescriptions.42 That finding alone would satisfy
   the numerosity requirement. See, e.g., Ochinero v. Ladera Lending, Inc., 2021 WL
   2295519, at *9 (C.D. Cal. Feb. 26, 2021) (“Typically, courts have found that the
   numerosity requirement is satisfied when the proposed class includes at least forty
   members.”). Neither Takeda nor Lilly disputes that finding or raises challenges to
   numerosity,43 so the Court concludes that numerosity is satisfied.

          2.      Commonality

           “[C]ommonality requires that the class members’ claims ‘depend upon a common
   contention’ such that ‘determination of its truth or falsity will resolve an issue that is
   central to the validity of each claim in one stroke.’” Abdullah v. U.S. Sec. Assocs., Inc., 731
   F.3d 952, 957 (9th Cir. 2013) (quoting Dukes, 564 U.S. at 350). Here, Takeda and Lilly
   stipulated to the notion that the existence of an alleged RICO enterprise between Takeda
   and Lilly would qualify as a common question for all class members at any given point in
   time.44 Because the Court agrees with that proposition, and neither Takeda nor Lilly
   raises any other issues concerning commonality,45 the Court concludes that Rule 23(a)(2)
   is satisfied.

          3.      Typicality

           “To demonstrate typicality, Plaintiffs must show that the named parties’ claims
   are typical of the class.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984 (9th Cir. 2011)
   (citing Fed. R. Civ. P. 23(a)(3)). “The test of typicality ‘is whether other members have


   42
            See Motion to Certify, Ex. 6 [ECF No. 229-7].
   43
            See generally Sealed Opposition; Sealed Joinder.
   44
            Sealed Motion to Certify 7:7-11; see generally Sealed Opposition (making no objection); see
   also Sealed Joinder 4:9-25 (acknowledging the stipulation but qualifying its reach with respect to
   liability).
   45
          Sealed Reply 2:7.


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the same or similar injury, whether the action is based on conduct which is not unique to
the named plaintiffs, and whether other class members have been injured by the same
course of conduct.’” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)
(quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D. Cal. 1985)). The Rule 23(a)
standard is “permissive,” and it requires only that the representative’s claims are
“reasonably co-extensive with those of absent class members.” Rodriguez v. Hayes, 591
F.3d 1105, 1124 (9th Cir. 2010) (citation omitted).

        Plaintiffs argue that Painters is typical of the National TPP Class for two reasons.
First, Painters’ injuries—i.e., payments for excess prescriptions—are based upon the
same legal theories as those of the absent TPPs.46 And second, the manner in which
Painters administers its benefits—i.e., via a pharmacy benefit manager—mirrors the
approach of TPPs across the country.47 According to Plaintiffs’ expert Dr. Peter Penna,
the relationship between Painters and its pharmacy benefit manager—Prime
Therapeutics—“is typical of such relationships in the United States,” and it includes
“usual and customary services.”48

        Takeda does not dispute either point. Rather, Takeda argues that Painters’ claims
are atypical because they are subject to “unique defenses relating to [Painters’] failure to
preserve relevant documents.”49 Specifically, Takeda accuses Painters of spoilation by
failing to ensure that Prime Therapeutics preserved relevant documents, as Painters did
not preserve documents on its own.50 Takeda also says that Prime Therapeutics testified
that it did not receive a litigation hold notice, so it has documents and formularies
reaching back to only 2009.51

        When a class representative destroys evidence, the Court may deem her claim to
be atypical if that conduct threatens to become the focus of the litigation. See Doyle v.
Chrysler Grp. LLC, 2014 WL 7690155, at *3 (C.D. Cal. Oct. 9, 2014), rev’d and remanded
on different grounds, 663 F. App’x 576 (9th Cir. 2016). However, the Court concludes that
Painters cannot be accused of spoilation because it did not destroy or dispose of any
documents—Prime Therapeutics did. Painters provides evidence of its diligent efforts to




46
       Sealed Motion to Certify 7:24-27.
47
       Id. at 8:16-21.
48
       Id. at 8:28-9:3.
49
       Sealed Opposition 37:15-16.
50
       Id. at 37:23-38:4; Sealed Motion to Certify 8:16-17.
51
       Sealed Opposition 38:3-10.


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preserve its documents, to notify Prime Therapeutics of the lawsuit (when Takeda,
ironically, did not), and even to subpoena Prime Therapeutics.52

       Moreover, Takeda gives little if any explanation for why the lost documents—
specifically, Prime Therapeutics’ drug formularies from 2005 to 2009—even matter.53
Painters claims that it has the data showing how much it paid for Actos prescriptions,
rendering the information in the formularies duplicative.

        Therefore, the Court is doubtful that the lost formularies would become the focus
of the lawsuit. In fact, if that information was so important, the Court would have
expected the issue to arise during the hearing on the Motion to Certify. It did not. Thus,
the Court is not persuaded that the lost formularies render Painters’ claims atypical.
Rule 23(a)(3) is satisfied with respect to typicality.

       4.      Adequacy

       Rule 23(a)(4) requires that the class representative “fairly and adequately protect
the interests of the class.” Fed. R. Civ. P. 23(a)(4). Takeda makes two arguments why
Painters is an inadequate class representative.

        First, Takeda contends that Painters has abandoned allegedly viable claims because
(1) it narrowed the period of the class by amending the end date to September 2010; and
(2) it declined to appeal its excess price theory of damages.54 Because those “tactical
decisions potentially jeopardize the rights of absent class members,” says Takeda, “class
certification should be denied.”55

        Takeda’s argument is weak and easily surmounted. “A strategic decision to
pursue those claims a plaintiff believes to be most viable does not render her inadequate
as a class representative.” Todd v. Tempur-Sealy Int’l, Inc., 2016 WL 5746364, at *5
(N.D. Cal. Sept. 30, 2016). Takeda offers no compelling reason why narrowing the class
definition—as Painters did here—jeopardizes the rights of absent class members.56 If
anything, the new timeframe better aligns with the data unearthed in discovery, which




52
         Sealed Reply 2:25-3:16.
53
         See Sealed Opposition 38:5-10 (asserting that the loss of formularies has impacted the
litigation, without identifying the impact or explaining why that information matters).
54
         Id. at 35:23-36:4.
55
       Id. at 36:5-6.
56
       See generally id.


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undergirds Plaintiffs’ theory. Pruning unviable elements from one’s case is a hallmark of
competence, not inadequacy.57

        Moreover, Takeda moved to dismiss the excess price theory with prejudice and
     58
won. Takeda now asserts that Plaintiffs’ failure to revive that theory on appeal renders
Painters an inadequate representative,59 but Takeda offers no authority for the
proposition that declining to appeal constitutes abandonment rather than an exercise of
discretion.60 Cf. In re Conseco Life Ins. Co. LifeTrend Ins. Sales & Mktg. Litig., 270 F.R.D.
521, 532 (N.D. Cal. 2010) (“Plaintiffs are permitted to press a theory of contract liability
that affords them the best chance of certification and of success on behalf of the class” in
view of “changes occasioned by the issuance of the regulatory settlement.”). Indeed, the
facts here are distinguishable from the cases that Takeda cites, in which the class
representative took some affirmative action to waive or abandon certain claims. See, e.g.,
Clark v. Experian Info. Sols., Inc., 2001 WL 1946329, at *3 (D.S.C. Mar. 19, 2001) (the
plaintiffs abandoned their claims); Thompson v. Am. Tobacco Co., 189 F.R.D. 544, 550
(D. Minn. 1999) (the plaintiffs tried to “reserve” personal injury and damage claims);
Drimmer v. WD-40 Co., 2007 WL 2456003, at *3 (S.D. Cal. Aug. 24, 2007), aff’d, 343
F. App’x 219 (9th Cir. 2009) (the plaintiff’s “own conduct militates against finding that
he adequately represents the class” when he “refuses to seek all available remedies even
for himself”).

       Second, Takeda lambasts Painters as “stunningly unaware of what has been
happening in this litigation since it was filed.”61 But in support of that accusation, Takeda
can cite only a lapse of memory by Painters’ fund counsel during a live deposition
regarding certain details of the litigation.62 While mildly unflattering for Painters, it is too
much of a stretch for Takeda then to equate that circumstance to a case in which the class
representative “ceded all control to his counsel.”63 Azoiani v. Love’s Travel Stops &
Country Stores, Inc., 2007 WL 4811627, at *2 (C.D. Cal. Dec. 18, 2007).



57
       Sealed Reply 5:22-25.
58
       In Chambers Order Partially Granting Mot. to Dismiss [ECF No. 140] 2.
59
       Sealed Opposition 35:25-27.
60
       See id. at 34:25-35:22 (where none of the cases that Takeda cites stands for the
proposition that failing to appeal a claim dismissed with prejudice constitutes abandonment for
the purposes of determining adequate representation under Rule 23(a)(4)).
61
       Id. at 36:21-22.
62
       See, e.g., id., Ex. G. Dep. Tr. of Rule 30(b)(6) Designee Roger Stelljes [ECF No. 248-4]
38:20-25 (where the fund’s counsel could not remember if the class was shortened from
September 2010 or 2011).
63
          Sealed Opposition 36:22-37:12.


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        Crucially, Takeda does not assert that Painters’ interests are misaligned with those
of the other class members. See, e.g., Crawford v. Honig, 37 F.3d 485, 487 (9th Cir. 1994),
as amended on denial of reh’g (Jan. 6, 1995) (adequacy depends on the qualifications of the
representative, “an absence of antagonism, a sharing of interests between representatives
and absentees, and the unlikelihood that the suit is collusive”) (internal quotations and
citations omitted). The Court therefore concludes that the adequacy requirement is
satisfied. See Fed. R. Civ. P. 23(a)(4).

     In summary, each of the requirements under Rule 23(a) is met for the National
TPP Class.

B.     Rule 23(b) Requirements

        The proposed class must also meet one of three prongs set forth in Rule 23(b).
Plaintiffs focus on the third prong, which requires both that a class action is the superior
method of adjudication and that common issues of law or fact predominate over
individualized issues. See Fed. R. Civ. P. 23(b)(3).

       1.      Superiority

        Plaintiffs argue that a class action is superior because it would be uneconomical to
litigate many of the claims for individual TPPs separately, in view of the staggering costs
of litigation and the barriers to access the IQVIA data needed to establish causation.64
Takeda responds that trial will be unmanageable if the Court certifies the class, given the
myriad witnesses and volume of evidence involved. Takeda points to the five-week trial
in In re Neurontin Mktg. & Sales Pracs. Litig., 2011 WL 3852254, at *2 (D. Mass. Aug. 31,
2011), as a benchmark.65

         Notwithstanding the enormous logistical hurdles of a five-week trial, the
alternative would be far less efficient. With thousands of TPPs, there could be hundreds
or thousands of individual lawsuits. Even if each of those trials is short, the cumulative
amount of time and resources expended on all of those proceedings—by both the judicial
system and the parties—would be greater in the aggregate. One supposed “nightmare”
trial is preferable to many hundreds of shorter ones.66 The class action form is far
superior here. See Fed. R. Civ. P. 23(b)(3).




64
       Sealed Motion to Certify 36:9-18.
65
       Sealed Opposition 33:21-34:18.
66
       Id. at 34:16.


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       2.     Predominance

       In this lawsuit, the battle over certification is waged in the trenches of the second
prong of Rule 23(b)(3): predominance. In view of the quantity of briefing on this topic
and the complexity of the factual matters involved, the Court will proceed claim by claim,
element by element, endeavoring to conduct a “rigorous analysis” to determine whether
common questions of law and fact predominate over Plaintiffs’ claims. See Comcast Corp.
v. Behrend, 569 U.S. 27, 35 (2013).

       The predominance inquiry tests “whether proposed classes are sufficiently
cohesive to warrant adjudication by representation.” Amchem Prod., Inc. v. Windsor, 521
U.S. 591, 623 (1997). “Considering whether questions of law or fact common to class
members predominate begins, of course, with the elements of the underlying cause of
action.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011) (internal
quotations omitted).

       For the National TPP Class, Plaintiffs assert civil RICO claims against Takeda and
Lily under 18 U.S.C. § 1962(c) and derivatively under § 1962(d).67 To establish those
claims, Plaintiffs must show (1) that a RICO violation occurred; and (2) that the class
members have standing. Painters & Allied Trades, 943 F.3d at 1248.

        After those issues have been characterized as common or individual, “courts then
loosely compare the issues subject to common proof against the issues subject solely to
individualized proof to assess whether the common issues predominate.” 2
W. Rubenstein, Newberg on Class Actions § 4:50 (5th ed. 2021) (“Rubenstein”). That
final step “is more of a qualitative than quantitative analysis.” Id. One indication that
common issues predominate is if adding more plaintiffs to the class only minimally affects
the amount of evidence to be introduced. See id. Another indication is if individual
factual determinations “can be accomplished using computer records, clerical assistance,
and objective criteria.” Id. But if the resolution of an issue “breaks down into an
unmanageable variety of individual legal and factual issues leading to an inordinate
number of evidentiary hearings,” then common questions do not predominate. Kristensen
v. Credit Payment Servs., 12 F. Supp. 3d 1292, 1306 (D. Nev. 2014).

              a.     Civil RICO Violation

        To demonstrate a civil RICO violation, “a plaintiff must prove that the defendant
engaged in (1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering
activity.” Painters & Allied Trades, 943 F.3d at 1248 n.5.



67
       Amended Complaint ¶¶ 231-259.


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                      i.      Conduct

        Plaintiffs argue that questions of conduct are common to the class because
evidence of conduct all stems from the behavior of Takeda and Lilly.68 The Court agrees.
“Proving the first element of a RICO violation in this case would involve common
questions about the activities” of Takeda and Lilly and whether they “participated or
engaged in conduct” with each other. In re Ins. Brokerage Antitrust Litig., 579 F.3d 241,
269 (3d Cir. 2009). Such evidence would not necessarily vary based upon the number of
TPPs in the class. Even if including some TPPs in the class (and not others) would force
Plaintiffs to extend the timeframe of the class period,69 the locus of the evidence would
nonetheless be Takeda and Lilly. Thus, common questions predominate with respect to
the first element of a civil RICO violation.

        Lilly suggests that the evidence will not bear out Plaintiffs’ allegations regarding its
conduct (as opposed to Takeda’s conduct), especially in the years after 2006, when Lilly
stopped promoting Actos.70 But that concern is immaterial at this stage of the litigation.
Whether the evidence will support Plaintiffs’ claims is a matter for trial or summary
judgment; it is peripheral to the question of whether (or not) the issue is common to the
class.71 See Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 459 (2013)
(holding that “Rule 23(b)(3) requires a showing that questions common to the class
predominate, not that those questions will be answered, on the merits, in favor of the
class”) (emphasis in original); Olean, 31 F.4th at 667 (observing that district courts are
“limited to resolving whether the evidence establishes that a common question is capable
of class-wide resolution, not whether the evidence in fact establishes that plaintiffs would
win at trial”) (emphasis original).

                      ii.     Enterprise

       Plaintiffs contend that the second element of a RICO violation—the existence of
an enterprise—also involves common evidence.72 See In re Ins. Brokerage Antitrust Litig.,


68
        Sealed Motion to Certify 11:9-12.
69
        Imagine, for example, some cluster of TPPs started reimbursing for Actos prescriptions
only at the end of the class period, rather than continuously throughout the period.
70
         See Sealed Joinder 5:1-15.
71
         Sealed Reply to Joinder 1:16-27. Additionally, the MDL Court found that Lilly
“continued to collect a residual fee based upon the scope and success of its efforts during the
official term of the Co–Promotion Agreement” for three years after Lilly ceased actively to
promote Actos. In re Actos (Pioglitazone) Prod. Liab. Litig., 2014 WL 46579, at *9 (W.D. La.
Jan. 6, 2014). Plaintiffs contend that such a finding illustrates how they would succeed on the
merits for the element of conduct. See Sealed Reply to Joinder 2:1-19.
72
       Sealed Motion to Certify 11:12-15.


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579 F.3d at 269–70. Under the RICO statute, an enterprise is defined as “any individual,
partnership, corporation, association, or other legal entity, and any union or group of
individuals associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). On its
face, it appears that the question of whether Takeda or Lilly was “part of an association-
in-fact enterprise operating an alleged scheme to defraud the class members” is one that
“can be resolved on a class-wide basis.” Negrete v. Allianz Life Ins. Co. of N. Am., 287
F.R.D. 590, 610 (C.D. Cal. 2012); see also Just Film, Inc. v. Buono, 847 F.3d 1108, 1122 n.3.
(9th Cir. 2017) (whether the defendants were “part of an enterprise” was an issue to be
“resolved on a classwide basis”).

        In response, Takeda and Lilly assert that their evolving relationship from 1999
through 2010 precludes Plaintiffs from using common proof to establish that a RICO
enterprise existed.73 But that argument muddies the inquiry. Even if Takeda and Lilly’s
relationship changed over time, the evidence needed to prove the existence of an
enterprise would not vary by TPP—it would remain common to the class. Common
evidence need not be evidence that holds true or applies equally across periods of time; it
can refer to any or all evidence that answers a question common to the class. See Tyson
Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (observing that a common question is
one where the same evidence will suffice for each member to make a prima facie showing
or the issue is susceptible to generalized, class-wide proof); see also Does I v. Gap, Inc.,
2002 WL 1000073, at *7 (D. N. Mar. I. May 10, 2002) (holding that common issues
predominate in a claim for a civil RICO violation where “common evidence” could prove
the existence of a RICO enterprise). Thus, common questions of law and fact
predominate over the second element of a civil RICO violation.74

                      iii.    Pattern of Racketeering Activity

        Lastly, Plaintiffs argue that the third and fourth elements of a RICO violation
“would encompass common questions . . . including whether activities that constitute
racketeering were taking place through the enterprise . . . and whether these racketeering
activities were recurring such that a pattern could be established.”75 In re Ins. Brokerage




73
        Sealed Opposition 30:9-10; Sealed Joinder 4:9-25.
74
        Additionally, the parties dispute whether Takeda and Lilly’s prior stipulation, see Motion
to Certify, Ex. 9 [ECF No. 229-10], means that they conceded the argument that the existence of
an enterprise is one common to the class. Compare Sealed Motion to Certify 11:12-15 with Sealed
Opposition 30:24-31:2 and Sealed Joinder 4:9-25. Whether Takeda and Lilly conceded that point
is moot because the Court concludes that common issues predominate over the first and second
elements of a civil RICO violation.
75
       Sealed Motion to Certify 11:15-19.


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Antitrust Litig., 579 F.3d at 270. The alleged racketeering activity involves mail fraud and
wire fraud under 18 U.S.C. § 1341 and § 1343, respectively.76

       Takeda and Lilly attack this contention from two angles. First, they argue that
proving racketeering by means of mail and wire fraud would require common evidence
showing that they intended to “deceive and cheat.”77 United States v. Miller, 953 F.3d
1095, 1101 (9th Cir. 2020) (emphasis original). Takeda and Lilly say that the evidence
against them of fraud and deception varies depending on the time-period because their
product labels changed.78 That nuance matters because statements are false and
misleading only if such is the case “at the time they were made, as required in a civil RICO
action based on mail and wire fraud.” United Food & Com. Workers Cent. Pennsylvania &
Reg’l Health & Welfare Fund v. Amgen, Inc., 400 F. App’x 255, 257 (9th Cir. 2010)
(emphasis added).

        Takeda and Lilly’s argument is unpersuasive. While the product labels for Actos
may have changed from 1999 to 2011, they would have changed for all members of the
class at the same time. That fact distinguishes the circumstances here from the case that
Takeda cites,79 in which the defendant allegedly violated New York consumer protection
laws by, inter alia, failing to disclose certain fees, terms, and conditions on the various
websites through which it sold video games. See Williams v. Oberon Media, Inc., 2010 WL
8453723, at *1 (C.D. Cal. Apr. 19, 2010), aff’d, 468 F. App’x 768 (9th Cir. 2012). There,
“the content and format of those websites varie[d] from website to website.” Id. at *9.
As a result, the district court determined that it would need to engage in a customer-by-
customer inquiry to determine which disclosures any individual class member read. Id.
In contrast, Takeda and Lilly have not explained why Actos product labels would differ
from TPP to TPP. If, for certain periods of time, the product labels were deemed not
false or misleading, then that would hold true for all TPPs purchasing Actos in that
timeframe, effectively shortening or redrawing the class period eligible for damages. But


76
       Amended Complaint ¶ 239.
77
        Sealed Opposition 9:28-10:5; see also Sealed Joinder 3:16-27.
78
        Sealed Opposition 28:7-8; see also id. at 27:19-22 (“Simply put, the evidence as to whether
Defendants committed a RICO violation (and Defendants’ defenses to such allegations) is not
common for all class members, but varies based on when the underlying Actos prescription was
filled.”).
79
        Id. at 28:14-17. Takeda cites two other cases, but the Court also finds them
distinguishable. See id. at 28:17-29:1 (citing Reitman v. Champion Petfoods USA, Inc., 830
F. App’x 880, 881 (9th Cir. 2020) (affirming the district court’s denial of class certification
where each bag of the defendant’s dog food contained different information depending on the
packaging), and Cabral v. Supple LLC, 608 F. App’x 482, 483 (9th Cir. 2015) (vacating
certification where the defendant made different statements about its product through different
advertising channels)).


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that scenario would not require individualized hearings. The evidence needed to resolve
the inquiry would remain “a common body of evidence,” even if the evidence may
implicate individual TPPs (or temporal clusters of TPPs) differently. Olean, 31 F.4th at
666.

        Second, Takeda argues that the changing state of scientific knowledge precludes
Plaintiffs from establishing the element of scienter with common proof.80 Takeda cites
Sanneman v. Chrysler Corp., 191 F.R.D. 441, 453 (E.D. Pa. 2000), and In re Ford Motor Co.
Vehicle Paint Litig., 182 F.R.D. 214, 220 (E.D. La. 1998), for support.81 Again, the Court
concludes that evidence of scienter would involve common elements because Takeda and
Lilly’s scientific knowledge would not vary by individual TPP. Evidence of scienter
would necessarily focus on what Takeda and Lilly knew, not what the individual TPPs
knew.82 See, e.g., Broomfield v. Craft Brew All., Inc., 2018 WL 4952519, at *13 (N.D. Cal.
Sept. 25, 2018) (holding that the question of the defendant’s “state of mind is . . .
common to the class”); cf. In re Bofl Holding, Inc. Sec. Litig., 2021 WL 3742924, at *4
(S.D. Cal. Aug. 24, 2021) (holding, in the context of securities fraud, that “the
defendant’s scienter [is an] issue[] that would require the same proof for any class
member”); Takiguchi v. MRI Int’l, Inc., 2016 WL 1091090, at *7 (D. Nev. Mar. 21, 2016)
(holding that evidence of scienter is “clearly susceptible to classwide proof”). Thus,
common evidence would predominate over the third and fourth elements of a RICO
violation and any respective defenses put forward by Takeda or Lilly.

        In conclusion, common questions of fact predominate over each element of the
civil RICO violation.

              b.      Civil RICO Standing

        To allege civil RICO standing under 18 U.S.C. § 1964(c), a “plaintiff must show:
(1) that his alleged harm qualifies as injury to his business or property; and (2) that his
harm was by reason of the RICO violation.” Canyon County v. Syngenta Seeds, Inc., 519
F.3d 969, 972 (9th Cir. 2008) (internal quotations omitted). The Supreme Court has
interpreted the phrase “by reason of” in 18 U.S.C. § 1964(c) to require both proximate
and but-for causation. See Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992).



80
       Id. at 29:2-8.
81
       Id. at 29:9-18.
82
       Furthermore, neither Sanneman nor Ford Motor Co. Vehicle Paint Litig. provides any
reasoning or explication regarding how a defendants’ changing scienter over time means that
common questions do not predominate. If anything, a defense that Takeda lacked scienter in
2000, but had it in 2004, would necessarily rely on evidence common to a class of TPPs that
purchased Actos in that time frame.


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                      i.     Injury

       To satisfy the element of injury, Plaintiffs must show that “‘damages are capable
of measurement on a classwide basis,’ in the sense that the whole class suffered damages
traceable to the same injurious course of conduct underlying the plaintiffs’ legal theory.”
Just Film, Inc., 847 F.3d at 1120 (citing Comcast Corp., 569 U.S. at 34). But the presence
of individualized variation in the damages does not, by itself, defeat certification. See
Leyva v. Medline Industries Inc., 716 F.3d 510, 514 (9th Cir. 2013). The Court must
determine whether common questions “predominate[] over any individual questions,
including individualized questions about injury or entitlement to damages.” Olean, 31
F.4th at 669.

        Takeda argues that the National TPP class definition includes some uninjured
TPPs and that their presence is a reason to reject certification, as their inclusion in the
class generates the need for individualized analysis.83 See Ruiz Torres v. Mercer Canyons
Inc., 835 F.3d 1125, 1138 (9th Cir. 2016) (noting that the class should not be “defined so
broadly as to include a great number of members who for some reason could not have
been harmed by the defendant’s allegedly unlawful conduct”) (internal citations
omitted). Specifically, Takeda highlights three “types” of uninjured TPPs.84 The Court
reviews each in turn.

                             (a)      Inevitable Actos Prescriptions
       The first type of uninjured class members are those TPPs that paid for Actos
prescriptions that would have been written anyway, fraud be damned.85 Takeda pounces
on the remarks of Plaintiffs’ expert witness—Comanor—when he states that “a good
number of Actos prescriptions were dispensed that would have occurred even in the
absence of the Defendants’ misconduct.”86 In fact, Comanor estimates that around 40%
of the Actos prescriptions would have still been written (and, thus, would have been
reimbursed), even if there was full awareness of the bladder cancer risks.87

       Plaintiffs seek to overcome that criticism by including only those TPPs in the class
that paid for at least five Actos prescriptions during the class period. In his report,
Comanor concluded that 56.77% of Actos prescriptions during the class period were



83
       See Sealed Opposition 10:10-15:11.
84
       Id. at 11:11.
85
       Id. at 11:12-13 & 12:2-13:20.
86
       Id. at 12:4-6 (quoting Motion to Certify 31:20-22).
87
       Sealed Opposition 19:4-7.


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fraudulently induced.88 Taking Comanor’s analysis at face value, the odds that any given
prescription, plucked randomly out of the class period, was induced by fraud would be
56.77%.89 As a result, any TPP that paid for at least five Actos prescriptions has,
statistically, a 98.5% chance of suffering an injury from Takeda and Lilly’s alleged
concealment of the bladder cancer risks.90 While it is not known at this time which
specific TPPs managed to avoid paying for any fraudulently induced prescriptions
entirely,91 one would expect—statistically speaking—that Takeda and Lilly could dispute
injury upon that basis for only about 1.5% of the class. And even though those disputes
would likely turn on individualized evidence specific to those TPPs, common evidence of
injury would still be expected to apply to the other 98.5% of the class. “That the
defendant might attempt to pick off the occasional class member here or there through
individualized rebuttal does not cause individual questions to predominate.” Olean, 31
F.4th at 668.

       This conclusion is valid even when taking into account the temporal variations in
Comanor’s probability scores, since the years when the odds of fraudulently induced
prescriptions were lowest also tended to be the years when total volumes of prescriptions
were the lowest.92 For example, for 2000, Comanor estimated that 88.3% of Actos
prescriptions and Actos combination treatments were fully informed of the bladder




88
        The Court takes Comanor’s report at face value and does not prejudge its accuracy. See
Expert Report of William S. Comanor (the “Comanor Report”) [ECF No. 234-6]. While the
Court found his testimony to be admissible for the purpose of class certification, it is up to the
finder of fact to weigh Comanor’s testimony in view of any cross-examination or contradicting
evidence or testimony from Takeda’s experts. Importantly, Takeda and Lilly do not provide a
competing regression analysis. Instead, Takeda and Lilly offer arguments and expert testimony
why they believe that Comanor’s analysis is flawed. See, e.g., Defs.’ Mot. to Exclude William S.
Comanor [ECF No. 249]; see also Expert Report of James W. Hughes on Class Certification (the
“Hughes Report”) [ECF No. 248-5] (critiquing the Comanor Report methodologically, but
refraining from offering a competing analysis). Comanor’s probability scores are the only ones
that the Court has before it.
89
       The Court notes that 56.77% is the average probability of a fraudulently induced
prescription across the class period. Plaintiffs acknowledge that the probability changes over
time. See Not. of Lodging of Pls.’ PowerPoint for Hr’g on Pls.’ Motion to Certify [ECF No. 305]
67. The probability ranges from as low as 11.7% in the year 2000 to as high as 70.6% in 2010. See
Comanor Report 64 (providing a table of the share of “fully informed” prescriptions for Actos
and Actos combinations).
90
      Sealed Reply 9:28-10:9. The math is relatively straightforward. Taking Comanor’s
summary statistics as valid, the chance that a TPP paid for five Actos prescriptions—and that
none was induced by fraud—would be (1 - 0.5677)5, or about 1.5%.
91
       See Defendants’ Supplemental Brief 9:22-10:8.
92
       See Comanor Report 64.


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cancer risks, and, thus, they would have still been prescribed.93 That year there were
4,459,950 total Actos prescriptions and Actos combination treatments, of which
3,938,256 (or 88.3%) were therefore fully informed. But those 3.9 million prescriptions
represent only about 3% of the total number of Actos prescriptions and Actos combination
treatments reimbursed during the class period. Moreover, the data shows that Actos
prescriptions grew steadily each year. So even though the odds were better that a TPP
was uninjured from prescriptions arising from the early years of the class period, those
years saw fewer total prescriptions. Thus, the number of uninjured TPPs appears to be de
minimis even when temporal variations are considered, and it is more likely than not that
common questions of fact would predominate over individualized ones when it comes to
injury.94

       Takeda tries to throw another wrench into the probability analysis by arguing that
individualized data would be needed to determine whether any individual TPP’s five (or
more) payouts were for “independent” prescriptions or merely for refills.95 While that
theory has some superficial appeal, it does not survive scrutiny. Plaintiffs point out that
both their experts and Takeda’s expert—Dr. James W. Hughes—successfully used the
same IQVIA plan-level data to screen out TPPs that did not fall within the class definition
when filtering for independent prescriptions.96 Because the IQVIA data facilitates
individual determinations, Plaintiffs’ approach is a textbook example of how the use of
“computer records, clerical assistance, and objective criteria” can obviate the need for an
evidentiary hearing on each claim. Rubenstein § 4:50. The Court is persuaded that
common questions of fact still predominate.

                              (b)     More Costly Alternatives
       A second type of uninjured TPPs is those “that would have paid more for an
alternative treatment, had they not reimbursed for Actos.”97 After all, there are patients
who switched from Actos to another drug, and, in some instances, those patients’ doctors



93
        It is worth noting that 88.3% is the highest probability (and, thus, the least favorable
probability to Plaintiffs) of any given year that a prescription was deemed “fully informed.” Id.
The average probability of a fully informed prescription during the class period is about 43% (that
is, one minus 57%—the average chance that the prescription was due to fraud).
94
        Even if the number of uninjured class members was more than de minimis, Olean clarified
that that defect is not necessarily a bar to certification. Olean, 31 F.4th at 669 (rejecting the
argument “that Rule 23 does not permit the certification of a class that potentially includes more
than a de minimis number of uninjured class members”).
95
        Sealed Opposition 13:8-20; Defendants’ Supplemental Brief 10:8-15.
96
       See Sealed Reply 11:14-21; see also Plaintiffs’ Supplemental Brief 10:1-9.
97
       Sealed Opposition 14:1-2.


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prescribed more expense alternatives.98 Understanding whether a patient would have
moved from Actos to a different drug, says Takeda, is an analysis “necessarily unique to
each TPP, based on the individual patient prescription decision that underlies the TPP’s
claims data.”99

        Close scrutiny reveals cracks in that argument. Although Takeda implies that this
offset issue is rampant throughout the class, Takeda never identifies how many TPPs are
(or would be) affected.100 Takeda only regurgitates the number from the Hughes Report
identifying how many patients switched from Actos to another regimen101—about 30%.102
But that 30% figure says nothing about the number of TPPs affected by higher alternative
costs. And in fact, the Court has reason to believe that switching costs may affect only a
de minimis number of TPPs. Hughes estimated that only 14.4% of the patients who
switched treatments from Actos chose a new treatment equal to or greater in cost than
their prior Actos prescription.103 Doing the math, 14.4% of 30.6% of patients is about 4% of
total patients in the sample population. In other words, only about 4% of the patients
switched from Actos to an equally or more expensive drug.

       How those patients are distributed across the class of TPPs is unknown to the
Court at this time. But the answer must lie between one of two extremes: either those
patients are maximally distributed across the TPP class, or they are maximally
concentrated in one TPP (or perhaps some handful). The Court reviews each scenario in
turn.

                                     (1)     Distribution Across the TPPs

       In the first scenario, it appears extremely unlikely that any TPP would count as
uninjured (when those TPPs were likely reimbursing many other patients’ fraudulently
induced prescriptions at the same time), thus directly undermining Takeda’s argument


98
        For context, Actos is often understood as a second-line treatment drug. That is, patients
usually start with a different drug, like Metformin, before trying Actos. See Reporter’s Tr. of
Mot. Proceedings (the “Hearing Transcript”) [ECF No. 312] 11:8-12:4 & 40:7-15.
99
       Sealed Opposition 15:3-5.
100
       Id. at 15:6-11.
101
        Compare id. 15:7-8 (citing the Hughes Report: “more than 30% of patients paid more for
their diabetes treatment after they stopped using Actos”) with Hughes Report ¶ 158 (observing
that “26.1 percent of all Actos patients switched to an alternative branded monotherapy, and an
additional 4.5 percent of patients switched to a combination therapy”).
102
        Sealed Opposition 15:7.
103
        Hughes Report ¶ 160 (stating that, of the patients who transitioned from Actos to
alternative treatments, only 14.4% paid for new regimens that were “equally or more expensive
for the TPP”).


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that individualized questions of injury would overwhelm common ones. Moreover, any
variance in the distribution of those patients would be a factor to consider only in
calculating damages, which does not disturb predominance. See Rubenstein § 4:54
(observing that “courts in every circuit have uniformly held that the 23(b)(3)
predominance requirement is satisfied despite the need to make individualized damage
determinations”).

                                       (2)    Concentration in a Few TPPS

        In the second scenario, common questions of fact would still predominate, since
the evidence would—at most—give Takeda the ability to “pick off the occasional class
member here or there,” which “does not cause individual questions to predominate.”104
Halliburton Co., 573 U.S. at 276. That ability to pick off a few class members, of course,
also assumes that the avoidance of economic loss is sufficient to render a TPP uninjured.
Plaintiffs directly challenge that assumption, arguing that the act of paying for
fraudulently induced prescriptions—even when the alternatives are more expensive—is
an injury in and of itself.105 The Court agrees. “To the extent that class members were
relieved of their money by [defendant’s] deceptive conduct—as Plaintiffs allege—they
have suffered an ‘injury in fact.’” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 595 (9th
Cir. 2012), overruled on other grounds by Olean, 31 F.4th at 682 n.32 (9th Cir. 2022).
Again, whether the net economic loss is zero (or negative) is a question of damages, not
injury. See Olean, 31 F.4th at 679; Painters & Allied Trades, 943 F.3d 1251 n.7 (describing
that question as a “damages question for another day”). Therefore, the presence of more
costly alternative medicines is not a reason, in this case, to believe that individualized
questions predominate over the element of injury.

                               (c)     TPPs That Settled
        A third and final type of uninjured TPPs is those that already settled.106 While the
Court can understand how their inclusion could have raised individualized issues, the
issue is now moot. Plaintiffs have amended the putative National TPP class definition to
exclude those TPPs.107



104
        The Court hypothetically referred to this scenario as the Kansas City example during the
hearing. Hearing Transcript 49:20-51:22. For instance, if all of those patients and prescribers
lived in one city, and all of those prescriptions were reimbursed by one TPP, then Takeda will
have succeeded in removing only that one TPP from the class.
105
        See Sealed Reply 12:9-13:3.
106
        Sealed Opposition 11:24-12:1.
107
        See Sealed Reply 1:26-2:3 (amending the National TPP class to exclude those TPPs that
had already settled their claims). At the hearing, counsel for Plaintiffs averred that roughly 15 to


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         In summary, Takeda fails to persuade the Court that the question of injury cannot
be resolved through Plaintiffs’ common body of evidence. Furthermore, because class
damages can be calculated formulaically in a manner consistent with Plaintiffs’ theory of
liability, Plaintiffs have met their burden to demonstrate predominance. See Comcast
Corp., 569 U.S. at 35; see also Rubenstein § 4:54 (discussing individual damages versus
common liability).

                       ii.     Causation

                               (a)    Proximate Causation
      Although the causation analysis includes both but-for and proximate causation, see
Holmes, 503 U.S. at 268, neither Takeda nor Lilly challenges the idea that common issues
predominate proximate causation.108 Instead, Takeda and Lilly attack the idea that
common issues of law and fact predominate over but-for causation. Accordingly, the
Court regards Rule 23(b)(3)’s predominance requirement as satisfied with respect to the
element of proximate causation.

                               (b)    But-For Causation
       To establish but-for causation under the “quantity-effect theory,” see Painters &
Allied Trades, 943 F.3d at 1247, Plaintiffs need to prove that Takeda and Lilly’s fraudulent
concealment of Actos’s bladder cancer risk caused TPPs to pay for additional quantities
of the drug—more than they would have otherwise paid, had they known the risks. As
evidence, Plaintiffs offer Comanor’s regression analysis, as well as direct evidence of
internal company emails, marketing studies, and other testimony.109

       Plaintiffs point to several out-of-circuit cases for the proposition that a statistical
regression, like Comanor’s analysis, can establish but-for causation for a civil RICO claim,
especially when used in tandem with other circumstantial or direct evidence.110 See, e.g.,
In re Neurontin Mktg. & Sales Pracs. Litig., 712 F.3d 21, 30 (1st Cir. 2013) (“Neurontin I”)
(affirming a jury verdict and bench trial where a regression analysis determined that


20 TPPs settled, which would not disturb the numerosity requirement discussed in Part III.A.1
above. Hearing Transcript 6:13-20.
108
        See generally Sealed Opposition; Sealed Joinder; see also Sealed Reply 9:18-19. As the
Ninth Circuit already reasoned, if a TPP can establish that Takeda and Lilly engaged in
racketeering to conceal the risk of bladder cancer and that the TPP purchased at least one
additional Actos prescription because of that conduct (i.e., but-for causation), then the injury is
sufficiently “direct” to satisfy proximate causation. Sealed Motion to Certify 32:28-33:4 (citing
Painters & Allied Trades, 943 F.3d at 1251).
109
       Sealed Motion to Certify 19:4-22:19.
110
       Id. at 12:21-16:10.


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“three out of ten Neurontin prescriptions written by neurologists for migraine would not
have been written or filled but for the alleged misconduct”); In re Neurontin Mktg. & Sales
Pracs. Litig., 712 F.3d 51, 57 (1st Cir. 2013) (“Neurontin II”) (holding that the statistical
evidence that “Aetna presented on but-for causation—that in the absence of Pfizer’s
alleged fraud, Aetna would have paid for fewer off-label prescriptions of Neurontin—
survives summary judgment”); In re Neurontin Mktg. & Sales Pracs. Litig., 712 F.3d 60, 68
(1st Cir. 2013) (“Neurontin III”) (holding that the “plaintiffs need not prove causation
through the testimony of individual doctors” and that the “combination of the aggregate
evidence and the circumstantial evidence” was enough to overcome summary judgment).

        In 2019, the First Circuit reaffirmed the approach that it forged in the Neurontin
cases to establish but-for causation.111 See In re Celexa & Lexapro Mktg. & Sales Pracs.
Litig., 915 F.3d 1, 14 (1st Cir. 2019) (reversing the district court’s entry of summary
judgment) (“Celexa”). In Celexa, Painters sued Forest Laboratories and Forest
Pharmaceuticals for a civil RICO violation regarding sales of Celexa and Lexapro. See id.
at 5. Painters sued on behalf of itself and a putative class of nationwide TPPs. See id. at 7.
While the case was before the district court, Painters’ expert, Dr. Meredith Rosenthal,
conducted the same regression analysis from the Neurontin cases “to examine whether
the fraudulent, off-label promotion in this case caused physicians to write additional off-
label prescriptions.” In re Celexa & Lexapro Mktg. & Sales Pracs. Litig., 315 F.R.D. 116,
126 (D. Mass. 2016), aff’d, 915 F.3d 1 (1st Cir. 2019). At the time, the district court
expressed doubts about the ability of Rosenthal’s causation analysis to satisfy
Rule 23(b)(3)’s predominance requirement.112 See id. at 127. The district court
ultimately denied class certification, in part because it determined that individualized
questions predominated over issues of causation. See id. at 128. But importantly, the
district court also denied certification for reasons relating to the statute of limitations. See
id. at 129–30.

        On appeal, the First Circuit affirmed the district court’s denial of class
certification, but, only narrowly—on statute of limitation grounds. See Celexa, 915 F.3d.
at 14–17. In dicta, the First Circuit remarked that it was “not clear why those issues to
which the district court pointed would preclude certification of such a class” when
“Painters’ clinical and statistical evidence, if believed, could establish causation and




111
      Id. at 16:1-17:14.
112
      Importantly, the district court directed its skepticism toward an assumption embedded in
Rosenthal’s model. See Celexa & Lexapro Mktg. & Sales Pracs. Litig., 315 F.R.D. at 127. That
assumption is not relevant here, because Rosenthal was modeling the relationship between
promotional spending and sales. See id. at 126.


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injury at least for any TPP who paid for more than a handful of different patients’
prescriptions.” Id. at 14.

       Lastly, Plaintiffs discuss Sergeants Benevolent Ass’n Health & Welfare Fund v.
Sanofi-Aventis U.S. LLP, 806 F.3d 71 (2d Cir. 2015) (“Sergeants”), in which the Second
Circuit noted in dicta that “it may be possible for a class of plaintiffs to prove the
causation element of a pharmaceutical fraud claim such as this one with generalized
proof,” even though the plaintiffs “failed to offer such proof” in that case. Id. at 74–75.

       Celexa, Sergeants, and the Neurontin cases give the Court confidence that evidence
common to the class—e.g., a regression model, academic papers, internal corporate
studies, and emails from Takeda’s and Lilly’s employees—can be used to establish but-
for causation under a quantity-effect theory for a single TPP or even for a class of them.
But whether common evidence can establish but-for causation is a separate issue from
whether common questions of fact predominate over that same inquiry. It remains an
open question whether a class of TPPs may successfully leverage common evidence of the
kind offered here (and discussed in Celexa and in the Neurontin cases) without running
into the need for individualized analysis—or, at least, without running into so much
individualized analysis that individual questions of fact begin to overwhelm the common
ones.

        Of the Neurontin cases, only Neurontin III considered a motion to certify a class.
See Neurontin III, 712 F.3d at 63. There, the district court initially denied class
certification. See In re Neurontin Mktg. & Sales Pracs. Litig., 2011 WL 1882870, at *5
(D. Mass. May 17, 2011) (holding that a class action would be “unmanageable” where “a
factfinder would have to perform a granular doctor-by-doctor analysis” in order “to
differentiate those prescriptions that were caused by fraud from those that were
attributable to non-fraudulent off-label marketing or other independent factors”). The
First Circuit vacated the denial of class certification, but only because the district court
rested its decision on the belief that a statistical regression analysis “could not provide
proof of causation or damages.” Neurontin III, 712 F.3d at 70. Neither Celexa nor
Neurontin III concluded that common questions predominated over Plaintiffs’ approach
to but-for causation. Vacating a denial of certification is not tantamount to an
endorsement of Plaintiffs’ view.113 The same goes for dicta that offers only glimmers of
hope.114 See, e.g., Celexa, 915 F.3d. at 14; Sergeants, 806 F.3d at 74–75.


113
        Intriguingly, after the First Circuit remanded the case, the district court hinted that it
would likely grant the motion for class certification. See Motion to Certify, Ex. 10 [ECF No. 229-
11] 35:19-25. But the parties settled before the district court could issue its ruling. See Motion to
Certify, Ex. 3 [ECF No. 229-4].
114
       Sealed Opposition 16:12-16 (remarking on Plaintiffs’ reliance on dicta).


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       Takeda marshals its own authority regarding but-for causation, citing UFCW Loc.
1776 v. Eli Lilly & Co., 620 F.3d 121, 135–36 (2d Cir. 2010) (“Zyprexa”).115 The Second
Circuit declined to certify a class of nationwide TPPs based upon the quantity-effect
theory116 where the district court had noted that “the evidence showed that at least some
doctors were not misled by Lilly’s alleged misrepresentations, and thus would not have
written ‘excess’ prescriptions as identified by the plaintiffs.” Id. at 136. The Second
Circuit concluded that the independent actions of physicians made “general proof of but-
for causation impossible.” Id.

       Although the First Circuit and Ninth Circuit have subsequently spurned the idea
expressed in Zyprexa that a plaintiff needs individual proof of physicians’ decision-
making,117 Zyprexa nevertheless unearths a key flaw with Plaintiffs’ predominance
argument. Namely, Takeda or Lilly could still depose individual prescribing physicians to
contest Plaintiffs’ theory of but-for causation, as those physicians might testify that they
would have continued to prescribe Actos, notwithstanding the bladder cancer risk. And
even if Plaintiffs present evidence that such testimony is “unreliable,” a trier of fact could
nonetheless rely on the physicians’ testimony to qualify, discredit, or reject Plaintiffs’
common evidence of but-for causation (e.g., Comanor’s regression analysis). See
Neurontin I, 712 F.3d at 29. Since the number of testifying physicians would likely
increase with the number of TPPs in the class, and that testimony would be linked to
specific TPPs, such evidence would constitute individualized evidence. With so many
individual TPPs in the class, a real and significant risk exists that individualized factual
determinations would swamp common ones on the question of but-for causation.118

       Plaintiffs gloss over that issue by repeatedly insinuating that they must prove only a
prima facie case with common evidence,119 but the predominance question is not limited

115
       Id. at 18:1-19:11.
116
         For context, the Second Circuit in Zyprexa also reversed the district court’s certification
of a class of TPPs based upon the “excess price theory,” which posits that the TPPs overpaid for
Zyprexa prescriptions because the manufacturer’s misrepresentations artificially inflated the
price of the drug.
117
        See Neurontin I, 712 F.3d at 45 (noting that a tort plaintiff need not prove a series of
negatives); Neurontin III, 712 F.3d at 68 (holding that the “plaintiffs need not prove causation
through the testimony of individual doctors”); Painters & Allied Trades, 943 F.3d at 1257
(expressing concern that manufacturers could “hide behind prescribing physicians and pharmacy
benefit managers” if prescribing physicians’ and pharmacy benefit managers’ decisions
constituted an intervening cause to sever the chain of proximate cause); see also id. at 1258
(crediting allegations of survey data showing that 75% of responding physicians lost considerable
interest in an oral anti-diabetic drug once they learned that it carried a risk of bladder cancer).
118
       Sealed Opposition 21:27-22:4.
119
       See, e.g., Sealed Motion to Certify 3:1-4, 10:23-25, 11:21-22, 12:2-4, & 32:15-17; Sealed
Reply 14:20-15:4 & 15:20-22.


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merely to Plaintiffs’ case-in-chief. Affirmative defenses, too, must be considered. See
Dukes, 564 U.S. at 367 (holding that a class cannot be certified on the premise that a
defendant “will not be entitled to litigate its statutory defenses to individual claims”); see
also Tyson, 577 U.S. at 457 (noting that the petitioner’s reliance on the respondents’
representative evidence “did not deprive petitioner of its ability to litigate individual
defenses”). Moreover, the Neurontin cases do not come to the rescue, since they
concluded that doctor-by-doctor testimony was best left for the trier of fact to weigh and
decide.120 See, e.g., Neurontin I, 712 F.3d at 45–46; Neurontin II, 712 F.3d at 58;
Neurontin III, 712 F.3d at 69. In other words, rather than eschewing individualized
evidence like testimony from the prescribing physicians, the Neurontin cases reserved it
for the jury to consider.

       At this point, one might conclude that individualized questions of fact predominate
over common questions—at least, when it comes to but-for causation. But that
conclusion is premature. It is not clear that Takeda or Lilly will—or even can—avail
themselves of a TPP-by-TPP causation defense using doctor-by-doctor testimony. To
sustain an affirmative defense, a defendant must have evidence. Transitively, then, the
availability of evidence matters for the purposes of determining predominance. For
example, in Tyson, the Supreme Court noted that:

       respondents sought to introduce a representative sample to fill an evidentiary
       gap created by the employer’s failure to keep adequate records. If the
       employees had proceeded with 3,344 individual lawsuits, each employee
       likely would have had to introduce Mericle’s study to prove the hours he or
       she worked. Rather than absolving the employees from proving individual
       injury, the representative evidence here was a permissible means of making
       that very showing. Reliance on Mericle’s study did not deprive petitioner of
       its ability to litigate individual defenses. Since there were no alternative
       means for the employees to establish their hours worked, petitioner’s
       primary defense was to show that Mericle’s study was unrepresentative or
       inaccurate. That defense is itself common to the claims made by all class
       members.

Tyson, 577 U.S. at 456-57. Implicit in that reasoning is the idea that the question of
predominance did not hinge on what evidence was theoretically available, but instead on
what evidence was actually adduced to support the parties’ claims and defenses. Accord
Huntsman v. Sw. Airlines Co., 2021 WL 391300, at *11 (N.D. Cal. Feb. 3, 2021)
(synthesizing Tyson and other authorities to hold that the mere existence of an affirmative
defense does not defeat class certification); see also Rubenstein § 4:55 (observing that the


120
       Sealed Opposition 21:11-27.


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general rule, “regularly repeated by courts in many circuits,” is that courts traditionally
have been “reluctant to deny class action status under Rule 23(b)(3) simply because
affirmative defenses may be available against individual members”).

        In reviewing the docket, the Court notes that most of the evidence related to the
element of but-for causation (from either party) is common to the class. Excerpts of two
depositions, each of a prescribing physician, constitute the only exception.121 Those
excerpts are the only individualized evidence that Takeda or Lilly submitted in relation to
the element of but-for causation on the Motion to Certify. In contrast, Plaintiffs supply a
mountain of evidence regarding but-for causation that is common to the class; e.g.,
Comanor’s regression model, internal email conversations, academic studies, data
regarding physician information requests, and the results of Takeda’s internal
investigations.122 As the tally stands, individualized issues would not predominate over
but-for causation if the trial was held today. While the Court could speculate whether
Takeda or Lilly will depose (or even can depose) many prescribing physicians, it is not
this Court’s role to make decisions on conjecture. The Court conducts a “rigorous
analysis” of the issues and evidence as they stand to determine whether Rule 23 has been
satisfied. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161 (1982). It refrains from
speculating whether the dearth of physician testimony is the result of a tactical decision or
a matter of unavailability. Accordingly, the Court concludes that Plaintiffs have shown,
by the preponderance of the evidence, that common questions of fact predominate over
the element of but-for causation.

C.     Conclusion for the National TPP Class

        The Court is persuaded that the National TPP Class can be certified. Plaintiffs
easily satisfy the four requirements of Rule 23(a). Plaintiffs also satisfy the superiority
prong of Rule 23(b)(3). When it comes to predominance under Rule 23(b)(3), Plaintiffs
handily show, by a preponderance of the evidence, that common questions of law and fact
predominate over five of the seven underlying elements to their civil RICO claims. Olean,
31 F.4th at 665. Only two elements provoke any trepidation, and both relate to civil RICO
standing: injury and but-for causation. 18 U.S.C. § 1964(c). Nonetheless, this Court
concludes that Plaintiffs eke out a victory on both.




121
      See Opposition, Ex. D. Dep. of Bolanle T. Oyeyipo, MD (the “Oyeyipo Deposition”)
[ECF No. 247-5]; see also Opposition, Ex. E. Remote Video Dep. of Cathy Stotz (the “Stotz
Deposition”) [ECF No. 247-6].
122
        See Sealed Motion to Certify 19:2-31:7 (describing common evidence on causation); see
also Sealed Reply 15:5-18 (highlighting common evidence of internal marketing surveys and
evidence of increases in physician information requests).


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        With respect to injury, the Court is persuaded that common questions are more
likely to predominate than not for three reasons. First, the way that Plaintiffs define the
class statistically limits the number of uninjured TPPs to a de minimis level. Second, the
data from the regression model (which appears highly unique to this case) shows that
variations in the probability of fraudulently induced prescriptions are still unlikely to
generate large clusters of uninjured TPPs, given their timing with prescription volumes.
And third, as even Takeda and Lilly acknowledge,123 the Ninth Circuit foreclosed their
argument that the presence of uninjured class members is a per se reason to deny
certification. See Olean, 31 F.4th at 669.

        Lastly, with respect to but-for causation, the Court recognizes and considers the
possibility that an individualized but-for causation analysis could overwhelm a common
analysis. But in view of the sparse rebuttal evidence in the record animating that defense,
the Court refrains from giving undue weight to the theoretical at the expense of the
concrete. Thus, predominance for Rule 23(b)(3) is established for each element of
Plaintiffs’ civil RICO claims. And even if individualized questions of fact did outnumber
common ones on the question of but-for causation, the bulk of the questions raised by
Plaintiffs’ civil RICO claims would be resolved with common evidence. On balance, the
Court finds it appropriate to GRANT Plaintiffs’ Motion to Certify as it relates to the
National TPP Class. Painters is an appropriate class representative, and its counsel of
record have demonstrated their competence to serve as Class Counsel.


                    IV. THE CALIFORNIA CONSUMER CLASS

       Plaintiffs also seek to certify a class of California consumers, with Snyder named as
the putative class representative. Plaintiffs define that class as:

       All consumers and entities in the State of California, who paid or incurred
       costs for the drug Actos, for purposes other than resale, between 1999, i.e.,
       when the drug was approved, and the present. Excluded from the California
       Consumer Class are employees of Takeda, including its officers or directors,
       the Court to which this case is assigned, and those consumers who are
       presently seeking a personal injury claim arising out of their use of Actos.124

On behalf of the California Consumer Class, Plaintiffs assert three claims against Takeda
and Lilly: (1) a claim seeking relief under California’s Consumer Legal Remedies Act (the
“CLRA”), see Cal. Civ. Code §§ 1750, et seq.; (2) a claim for remedies pursuant to


123
       Defendants’ Supplemental Brief 8:27-28.
124
       Amended Complaint ¶ 223.


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California’s Unfair Competition Law (the “UCL”), see Cal. Bus. & Prof. Code §§ 17200,
et seq.; and (3) a claim seeking remedies under California’s False Advertising Law (the
“FAL”), see Cal. Bus. & Prof. Code §§ 17500, et seq.125

        As discussed below, Takeda and Lilly make a weak typicality challenge. See
Fed. R. Civ. P. 23(a)(3). Otherwise, Takeda and Lilly concede that Plaintiffs satisfy the
Rule 23(a) requirements. Like the National TPP Class discussed in Part III above, the
battle over certification largely turns on the issue of predominance. See
Fed. R. Civ. P. 23(b)(3).

A.     Rule 23(a) Requirements

       1.     Numerosity, Commonality, and Adequacy

        Plaintiffs assert that there are “hundreds of thousands, if not millions, of
consumers who purchased Actos within the State of California between July 1, 1999 and
September 17, 2010.”126 And Snyder herself declares that she has no conflict of interest
with any of those putative members of the California Consumer Class.127 Additionally,
Plaintiffs argue that there are issues of law and fact common to the putative California
Consumer Class regarding Takeda and Lilly’s alleged violations of California consumer
protection laws.128

       Takeda and Lilly do not contest any of those arguments or averments.129 In view of
those concessions, the Court concludes that the numerosity, commonality, and adequacy
elements satisfied. See Fed. R. Civ. P. 23(a)(1), (2), & (4).

       2.     Typicality

       Plaintiffs allege that Snyder sustained the injury of purchasing Actos without a full
and accurate knowledge of its risks.130 Snyder herself declares that she would “never
have purchased and ingested the drug” had she known that Actos was associated with an
increased risk of bladder cancer.131 For those reasons, Plaintiffs suggest that Snyder—and
the injury that she sustained—are typical of the class. See Fed. R. Civ. P. 23(a)(3); see also


125
       Id. at ¶¶ 260-88. Those claims are pled as Counts III, IV, and V, respectively.
126
       Sealed Motion to Certify 37:5-14.
127
       Id. at 38:12-15.
128
       Id. at 37:15-28.
129
       See generally Sealed Opposition & Sealed Joinder.
130
       Sealed Motion to Certify 38:1-3.
131
       Decl. of Annie Snyder (the “Snyder Declaration”) [ECF No. 229-50] ¶ 9.


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Ellis, 657 F.3d at 984 (reiterating that the test of typicality “is whether other members
have the same or similar injury, whether the action is based on conduct which is not
unique to the named plaintiffs, and whether other class members have been injured by the
same course of conduct”) (internal citations and quotations omitted).

         Writing separately, Lilly argues that Snyder is not typical of the class for two
reasons. First, Lilly observes that Snyder began purchasing Actos in May 2009—three
years after Lilly stopped promoting the drug.132 Lacking unilateral control to change the
labels and to cure any omissions after the co-promotion ended,133 Lilly insinuates that
Snyder faces “additional, unique legal hurdles in pursuing claims against Lilly as
compared to putative class members who paid for Actos during the term of the co-
promotion agreement.”134 But that argument is a red herring because Snyder alleges
liability under the CLRA, UCL, and FAL based upon a decades-long conspiracy, for
which Lilly received royalties after its co-promotion with Takeda ended.135

       Second, Lilly points out that Snyder’s physician, Dr. Cathy Stotz, testified that she
believed that Actos was the right medical choice for Snyder.136 But that argument is yet
another red herring: Stotz’s post hoc beliefs regarding the propriety of the treatment are
immaterial to the typicality of Snyder’s injury.137 If Snyder had known about the bladder
cancer risks, Snyder avers that she would not have pursued the treatment,
notwithstanding her physician’s recommendation.138 See Guido v. L’Oreal, USA, Inc.,
284 F.R.D. 468, 479 (C.D. Cal. 2012), on reconsideration, 2012 WL 2458118 (C.D. Cal.
June 25, 2012) (finding typicality satisfied when the named plaintiff “testified that she
would not have purchased Serum or would have paid less for Serum had she known it had
flammable characteristics”).

       In summary, Snyder meets the typicality requirement as a putative class
representative. See Fed. R. Civ. P. 23(a)(3). Other California consumers ostensibly




132
       Sealed Joinder 8:15-18.
133
       Id. at 9:1-10.
134
       Id. at 9:11-13. Curiously, though, Lilly does not identify what those unique legal hurdles
might be. See generally id.
135
        Sealed Reply to Joinder 6:5-24.
136
        Sealed Joinder 9:13-19.
137
        It also strikes the Court that many physicians would be reluctant to reverse their earlier
recommendations, see, e.g., Neurontin I, 712 F.3d at 29 (discussing the phenomenon), which,
ironically, would make Snyder’s experience even more typical.
138
       See Sealed Reply to Joinder 7:1-6 (citing Snyder Declaration ¶¶ 7-9).


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would have been injured by the same omissions from Takeda and Lilly. Neither the
timing nor Snyder’s physician’s belief is a bar to that finding.

B.     Rule 23(b) Requirements

        Like they did with the National TPP class, here Plaintiffs elect to meet the
mandates of Rule 23(b) by attempting to show that the California Consumer Class
satisfies the third prong; i.e., superiority and predominance. See Fed. R. Civ. P. 23(b)(3).

       1.      Superiority

       Plaintiffs argue that it would be “unrealistic to expect millions of California
consumers to engage in a multiyear litigation against Takeda and Lilly to recover a meager
refund.”139 Takeda and Lilly wisely concede the point. As with the National TPP class,
the Court finds that the class action form would be superior to alternative methods in this
instance.

       2.      Predominance

        Plaintiffs argue that their CLRA, UCL, and FAL claims focus on Takeda and
Lilly’s misconduct, and, thus, common issues predominate. Specifically, Plaintiffs
contend that Takeda and Lilly made material omissions about Actos’s bladder cancer risk,
which caused the members of the California Consumer Class to sustain economic
injuries.140 The Court evaluates predominance for each of those claims. See Comcast
Corp., 569 U.S. at 35.

               a.      CLRA

       The CLRA makes unlawful various “unfair methods of competition and unfair or
deceptive acts or practices undertaken by any person in a transaction intended to result or
which results in the sale . . . of goods . . . to any consumer.” Cal. Civ. Code § 1770(a).
Here, Plaintiffs allege that Takeda and Lilly’s omission of Actos’s bladder cancer risk
constituted two such proscribed practices under the CLRA: namely, misrepresenting the
“certification” of safety in violation of Cal. Civ. Code § 1770(a)(2) and misrepresenting
the “standard, quality, or grade” of the drug in violation of Cal. Civ. Code § 1770(a)(7).141

        Relief under the CLRA is “limited to ‘[a]ny consumer who suffers any damage as a
result of the use or employment by any person of a method, act, or practice’ unlawful


139
       Sealed Motion to Certify 45:6-8.
140
       Id. at 38:18-45:2.
141
       Amended Complaint ¶ 264.


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under the act.” Massachusetts Mut. Life Ins. Co. v. Superior Ct., 97 Cal. App. 4th 1282,
1292 (2002), as modified on denial of reh’g (May 29, 2002) (citing Cal. Civ. Code
§ 1780(a)). Thus, Plaintiffs must “show not only that a defendant’s conduct was
deceptive but that the deception caused them harm.” Id. (emphasis added). In other
words, the California Consumer Class must have relied on Takeda or Lilly’s omissions.
Additionally, Plaintiffs must demonstrate an “actual injury as to each class member.”
Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145, 155 (2010), as modified on denial of
reh’g (Feb. 8, 2010) (“Steroid”). “[B]oth the named plaintiff and unnamed class
members must have suffered some damage caused by a practice deemed unlawful under
Civil Code section 1770.” Id. at 156. Accordingly, the Court evaluates whether common
questions predominate over the elements of causation and Plaintiffs’ reliance, Plaintiffs’
injury, and Takeda or Lilly’s obligation to disclose the risks—i.e., their deceptive
conduct.142

                       i.     Deceptive Conduct

        The Court begins with the easiest element to evaluate. Similar to the element of a
civil RICO violation that the Court considered in connection with the National TPP
Class, see supra Part III.B.2.a.i, the Court agrees with Plaintiffs that questions of deception
are ones susceptible to common class-wide proof for the California Consumer Class, since
the inquiry turns on evidence of what Takeda and Lilly knew and what they failed to
disclose. See Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 481 (C.D. Cal. 2012)
(holding that evidence of the defendant’s senior management’s desire “to eliminate
references to odor problems” in its product’s labeling constituted common evidence that
could establish deceptive conduct). Thus, common evidence would resolve this
element—predominance is established.

                       ii.    Causation and Reliance

       In contrast, a muddled mix of common and individualized evidence would be
needed to resolve the elements of causation and reliance. Causation “may be
established” on a class-wide basis if a material misrepresentation or omission has been


142
        Where, as here, Plaintiffs’ CLRA claim is premised on an “omission,” the omission must
be either: (1) “contrary to a representation actually made by the defendant”; or (2) “an omission
of a fact the defendant was obliged to disclose.” Daugherty v. Am. Honda Motor Co., 144
Cal. App. 4th 824, 835 (2006). An obligation to disclose exists for the purposes of a CLRA claim
based upon “failure to disclose a fact” in any of “four circumstances”: “(1) when the defendant
is the plaintiff’s fiduciary; (2) when the defendant has exclusive knowledge of material facts not
known or reasonably accessible to the plaintiff; (3) when the defendant actively conceals a
material fact from the plaintiff; [or] (4) when the defendant makes partial representations that are
misleading because some other material fact has not been disclosed.” Collins v. eMachines, Inc.,
202 Cal. App. 4th 249, 255 (2011), as modified (Dec. 28, 2011).


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made to the entire class. In re Vioxx Class Cases, 180 Cal. App. 4th 116, 129 (2009)
(“Vioxx”); see also Stearns, 655 F.3d 1022 (noting that the rule applies to cases regarding
omissions) (citing McAdams v. Monier, Inc., 182 Cal. App. 4th 174, 184 (2010)). “That
the defendant can establish a lack of causation as to a handful of class members does not
necessarily render the issue of causation an individual, rather than a common, one.”
Vioxx, 180 Cal. App. 4th at 129.

        Materiality is “generally judged by a reasonable man standard.” Steroid, 181
Cal. App. 4th at 157 (internal quotations omitted). “[H]owever, if the issue of materiality
or reliance is a matter that would vary from consumer to consumer, the issue is not
subject to common proof, and the action is properly not certified as a class action.”
Vioxx, 180 Cal. App. 4th at 129 (citing Caro v. Procter & Gamble Co., 18 Cal. App. 4th 644,
668 (1993) (affirming denial of class certification where the materiality of the defendant’s
representations regarding the freshness of its orange juice varied from consumer to
consumer, since not all consumers believed the defendant’s statements and thus were not
induced “to alter [their] position to [their] detriment”)).

        To their credit, Plaintiffs offer some compelling common evidence of materiality;
e.g., the wave of physician information requests (“PIRs”) came in the wake of the bladder
cancer risk disclosures and Lilly’s concession that bladder cancer risks would be a
“serious thing” for a healthcare professional.143

        But as Lilly argued at the hearing, the materiality of that bladder cancer risk to
patients’ diabetes prognoses is highly individualized. Moreover, some medicines and
treatment regimens would be ineffective; some patients would have no other option other
than Actos, notwithstanding the bladder cancer risks.144 Those determinations
necessarily reside with the patients and their physicians. Even Comanor recognized that
reality.145 Therefore, the question of whether Takeda or Lilly’s omissions were material
to the choices of any physician-patient tandem is an individualized one. And unlike the
National TPP Class—where Plaintiffs could establish a prima face case with extant

143
       See Sealed Motion to Certify 42:24-43:2 (pointing out that Lilly conceded that bladder
cancer risks would be a “serious thing” for a healthcare professional and noting a wave of PIRs
that came in the wake of the disclosures). While PIRs in aggregate serve as common evidence,
PIRs could also serve as individualized evidence: many physicians expressed concerns, but
others did not, and even more would not have changed their prescription.
144
        Hearing Transcript 123:3-127:18 (using the case of the named class representative as an
example, wherein her physician testified that there was no other option but to choose Actos).
145
        See, e.g., Ex. A. Remote Video Dep. of Dr. William S. Comanor [ECF No. 248-2] 109:20-
23 (observing that the decision to prescribe lies with the physician and patient) & 192:18-193:6
(“Q: Okay. As you sit here, you can’t say what an individual physician would do with respect to
any particular patient and their prescribing diabetes medications? A: That is obviously
correct.”).


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common evidence (before even considering Takeda’s or Lilly’s possible affirmative
defenses)—the Court struggles to see how Plaintiffs can circumvent that individualized,
case-by-case materiality analysis for the California Consumer Class.146

        Plaintiffs also rely heavily on the “presumption” of reliance.147 See Davis-Miller v.
Auto. Club of S. California, 201 Cal. App. 4th 106, 125 (2011), as modified (Nov. 22, 2011)
(noting that, unlike the UCL and FAL, the CLRA requires “an additional showing of
reliance”). But that presumption does not necessarily apply here. In Vioxx, the plaintiffs
sought to certify a class upon the basis of alleged misrepresentations and omissions in
“Merck’s direct-to-consumer advertisements,” which “did not address the
cardiovascular risks at all.” Vioxx, 180 Cal. App. 4th at 123. In view of the individualized
issues regarding Vioxx’s effectiveness and safety, the trial court concluded that the
plaintiffs could not establish materiality and reliance with respect to the CLRA on a
classwide basis. See id. at 126. The California Court of Appeals affirmed:

       [P]hysicians consider many patient-specific factors in determining which
       drug to prescribe, including the patient’s history and drug allergies, the
       condition being treated, and the potential for adverse reactions with the
       patient’s other medications—in addition to the risks and benefits associated
       with the drug. When all of these patient-specific factors are a part of the
       prescribing decision, the materiality of any statements made by Merck to any
       particular prescribing decision cannot be presumed. All of this evidence
       supports the trial court’s conclusion that whether Merck’s
       misrepresentations were material, and therefore induced reliance, is a matter
       on which individual issues prevailed over common issues, justifying denial of
       class certification with respect to the CLRA claim

Vioxx, 180 Cal. App. 4th at 134. The cardiovascular risks in Vioxx and the bladder cancer
risks here both strike the Court as serious considerations—ones that most reasonable
physicians and patients would evaluate before choosing an appropriate healthcare
regimen.

      But materiality is found only where the omission of those risks “would have been
important to the decision-making process.” Krueger v. Wyeth, Inc., 2011 WL 8971449, at


146
        Important here to the Court’s decision is the relative quantum of evidence. Whereas
Plaintiffs adduced mountains of common evidence for the National TPP class, they fail to do so
for the California Consumer Class. For example, Plaintiffs do not have large numbers of
consumers who were surveyed regarding their opinions, nor do Plaintiffs have evidence of a large
number of consumers seeking refunds. The quantum of evidence on each side with respect to
this class is far closer to parity.
147
       See Sealed Reply 22:24-25.


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*9 (S.D. Cal. Mar. 30, 2011) (“Krueger I”); see also In re Vioxx Consolidated Class Action,
2009 WL 1283129 (Cal. Super. Apr. 30, 2009) (“[t]o determine whether the cardiac risks
posed by Vioxx were material to any given class member requires an examination of the
member’s medical needs and history”). That aspect of materiality implicates a further
individualized analysis. As Stotz’s testimony illustrates,148 medical decisions are unique.
Some risks may not be all that important to the decision-making process when a patient
faces a debilitating and life-threatening disease. The Court is loath to insert itself into the
doctor’s office and impose its judgment onto physicians and their patients, blanketly
concluding on behalf of all “reasonable persons” that some risks matter (i.e., bladder
cancer risk) and that some do not (i.e., untreated or mismanaged diabetes). After all, sola
dosis facit venenum—the dose makes the poison. See Lothar Determann, Healthy Data
Protection, 26 Mich. Tech. L. Rev. 229, 277-78 n.245 (2020) (“Pracelsus [sic, Paracelsus]
said, ‘Sola dosis facit venenum’ (all things are poison and nothing is without poison; only
the dose makes a thing not a poison) (citation omitted)). And indeed, Comanor’s own
model suggests that 40% of Actos purchases would have been made even if full
information of the risks was known.149 Forty percent is not a trivial amount, even post-
Olean.

        For the same reasons as the court in Vioxx, the Court here concludes that
individualized questions of fact predominate over causation and reliance with respect to
Plaintiffs’ CLRA claim. See also Stearns, 655 F.3d at 1024 (affirming the denial of class
certification for a CLRA claim where there were “myriad reasons” why a consumer
might not have been misled by an omission on the defendant’s website, and yet “all of
those people would have been swept willy-nilly into the class”); cf. Steroid, 181
Cal. App. 4th at 159–60 (distinguishing Vioxx by asserting that “there is no impediment to
establishing reliance on a classwide basis for the CLRA claim in this case because it can be
established by showing that the alleged misrepresentation—that the androstenediol
products were legal—was material”).150

                       iii.    Actual Injury

     “A CLRA claim warrants an analysis different from a UCL claim because the
CLRA requires each class member to have an actual injury caused by the unlawful


148
         See generally Stotz Deposition; see also Oyeyipo Deposition.
149
         Sealed Opposition 42:23-25.
150
         Plaintiffs also rely on Krueger I, but that case is distinguishable on the facts. The court
there explained that “the drug in Vioxx ultimately performed as advertised, but with an
undisclosed side effect,” whereas in Krueger I, the drug “did not perform as advertised.”
Krueger I, 2011 WL 8971449, at *8. Here, Plaintiffs say that Actos performed as advertised but
that it posed an undisclosed risk of bladder cancer. That allegation makes this case closer to
Vioxx than Krueger I.


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practice.” Stearns, 655 F.3d at 1022. Injury is conflated, though, with the reliance
inquiry. See Steroid, 181 Cal. App. 4th at 156–57. As discussed above, individualized
questions predominate over the question of reliance. Therefore, individualized questions
predominate over the element of injury as well.

               b.      UCL and FAL

        The UCL proscribes unfair competition, described as “unlawful, unfair or
fraudulent business act or practice and unfair, deceptive, untrue or misleading
advertising.” Cal. Bus. & Prof. Code § 17200. “Thus, there are three varieties of unfair
competition: practices which are unlawful, unfair or fraudulent.” Daugherty v. Am.
Honda Motor Co., 144 Cal. App. 4th 824, 837 (2006), as modified (Nov. 8, 2006).
Plaintiffs allege violations of all three varieties, although each allegation arises from
essentially the same deceptive and misleading conduct.151

       Similarly, the FAL prohibits the dissemination of any advertising “which is untrue
or misleading, and which is known, or which by the exercise of reasonable care should be
known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500. Consistent with
their UCL claim, Plaintiffs allege that Takeda and Lilly advertised on its packaging and
through various media outlets in a manner that misstated Actos’s bladder cancer risk.152

        To state a claim under either the UCL or the FAL, “it is necessary only to show
that ‘members of the public are likely to be deceived.’” Kasky v. Nike, Inc., 27 Cal. 4th
939, 951 (2002). Whereas a “fraudulent deception must be actually false, known to be
false by the perpetrator and reasonably relied upon by a victim who incurs damages,”
none of those elements is required to state a claim for relief under the UCL or the FAL.
Day v. AT & T Corp., 63 Cal. App. 4th 325, 332 (1998). While the UCL focuses “on the
defendant’s conduct, rather than the plaintiff’s damages, in service of the statute’s larger
purpose of protecting the general public against unscrupulous business practices,” In re
Tobacco II Cases, 46 Cal. 4th 298, 312 (2009), predominance is not necessarily automatic
in every UCL or FAL case. “For example, it might well be that there was no cohesion
among the members because they were exposed to quite disparate information from
various representatives of the defendant.” Stearns, 655 F.3d at 1020.

       Takeda first challenges the idea that common evidence predominates over the
California Consumer Class members’ exposure to its omissions. Takeda argues that it is
unlikely that each member of the California Consumer Class viewed the product label,



151
       See Amended Complaint ¶¶ 271-81.
152
       Id. at ¶ 285.


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especially when the labels are often directed at physicians.153 To wit, Snyder testified that
she read labels sometimes, but not every time.154 Plaintiffs counter by asserting that the
fraud lasted a decade, thus making the facts here analogous to the tobacco industry’s
decades-long deceptive advertising campaign.155 See Tobacco II, 46 Cal. 4th at 324–27.
But while the duration of Takeda’s alleged malfeasance shares an order of magnitude with
that of the tobacco industry in Tobacco II (i.e., decades rather than months or years),
product labels for a specific oral antidiabetic medication do not share the same level of
ubiquity as cigarette advertisements. See id. at 327 (describing the tobacco industry’s
technique of “saturation advertising”); see also Mazza, 666 F.3d at 596 (“In the absence
of the kind of massive advertising campaign at issue in Tobacco II, the relevant class must
be defined in such a way as to include only members who were exposed to advertising that
is alleged to be materially misleading.”).

       Furthermore, Plaintiffs cannot simply assume that every patient who took Actos
was instantly exposed to misleading statements, especially when Plaintiffs’ own expert’s
model accounts for a lag in the time it takes for information to be disseminated.156 That
empirical fact suggests that Plaintiffs are not entitled to a presumption. Indeed,
“Tobacco II does not stand for the proposition that a consumer who was never exposed to
an alleged false or misleading advertising or promotional campaign is entitled to
restitution.” Pfizer Inc. v. Superior Ct., 182 Cal. App. 4th 622, 632 (2010). The
availability of some common evidence—which at best indicates that some physicians were
aware of the omission157—does not obviate the need for individualized evidence.

       Second, Takeda contends that the materiality of the misleading omissions would
also vary patient by patient.158 As discussed earlier, see supra Part IV.B.2.a.ii, the Court
agrees that individualized issues are likely to predominate, especially when at least 40% of
the class would have continued to purchase Actos after being fully informed of the
bladder cancer risks, according to the Plaintiffs’ expert.

       Third, Takeda argues that the modification of the class period—back to 2010—
triggers statute-of-limitation issues for Plaintiffs’ CLRA and FAL claims.159 See Yumul v.


153
       Sealed Opposition 41:3-15.
154
       Opposition, Ex. I [ECF No. 238-10] 63:3-24.
155
      Sealed Reply 22:25-23:12.
156
      See Sealed Opposition 42:9-18.
157
      Sealed Motion to Certify 40:2-9 (discussing Takeda’s studies and interviews of prescriber
awareness of bladder cancer risks).
158
       Sealed Opposition 42:19-43:11.
159
       Id. at 44:21-45:22.


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Smart Balance, Inc., 733 F. Supp. 2d 1117, 1130 (C.D. Cal. 2010) (explaining that CLRA
and FAL claims are subject to a three-year statute of limitations and that UCL claims are
subject to a four-year statute of limitations). Those issues, says Takeda, raise
“substantial individual questions that vary among class members.” O’Connor v. Boeing
N. Am., Inc., 197 F.R.D. 404, 414 (C.D. Cal. 2000). Plaintiffs reply that the “discovery
rule” applies here, which has the effect of postponing the accrual of the claims.160 See
Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1024 (9th Cir. 2008) (citing Norgart v.
Upjohn Co., 21 Cal. 4th 383, 397 (1999)).

        “In order to invoke this special defense to the statute of limitations, the plaintiff
must specifically plead facts which show (1) the time and manner of discovery and (2) the
inability to have made earlier discovery despite reasonable diligence.” Saliter v. Pierce
Bros. Mortuaries, 81 Cal. App. 3d 292, 297 (1978). Since this case was filed on July 23,
2014,161 Plaintiffs would need to invoke the discovery rule for any California Consumer
Class member who discovered (or could have discovered) the misleading omissions prior
to July 23, 2011—at least with respect to the CAL and CLRA claims.162

       While the Court need not now adjudicate the merits of this defense, it must
consider whether evidence common to the class, or evidence particular to individual class
members, would predominate in resolving the inquiry. Ironically, Takeda and Lilly
appear more likely to avail themselves of evidence common to the class to overcome the
discovery rule defense—e.g., the FDA’s announcement on September 17, 2010, that it
was conducting an on-going safety review of Actos for bladder cancer risk;163 the
American Diabetes Association’s publication of studies of pioglitazone use and bladder
cancer on April 22, 2011;164 the European Medicines Agency’s June 9, 2011,
announcement that it was suspending Actos;165 and the FDA’s June 15, 2011, safety
announcement informing the public of the links between Actos use and bladder cancer.166
On the other hand, individualized evidence—such as patient or prescriber testimony—
would likely be needed to show that any given California Consumer Class member “was
not negligent in failing to make the discovery sooner” in view of those announcements or


160
       Sealed Reply 25:4-10.
161
       See Compl. [ECF No. 1].
162
       The parties acknowledge that the UCL claim is not at issue here. See Sealed Opposition
45:20-22; Sealed Reply 25:28. Given the UCL’s four-year limitations period, the cutoff date
would be July 23, 2010.
163
       Second Amended Complaint ¶ 94.
164
       Id. at ¶ 96.
165
       Id. at ¶ 97.
166
       Id. at ¶ 99.


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that they “had no actual or presumptive knowledge of facts sufficient to put [them] on
inquiry.” Bedolla v. Logan & Frazer, 52 Cal. App. 3d 118, 129 (1975). While Plaintiffs
make clear that they intend to point to the August 2011 Actos product label’s inclusion of
the bladder cancer risk (which is common evidence),167 the Court is skeptical that
individual testimony could be entirely avoided, should Plaintiffs avail themselves of the
discovery rule.

              c.     Damages

       If Plaintiffs prevail on their claims for the California Consumer Class, then they
would be entitled to only those damages resulting from their theory of liability—in this
case, restitution. See Comcast Corp., 569 U.S. at 35. “It follows that a model purporting
to serve as evidence of damages in this class action must measure only those damages
attributable to that theory.” Id. Calculations “need not be exact,” so long as they are
“consistent” with Plaintiffs’ liability case. Id. “And for purposes of Rule 23, courts must
conduct a ‘rigorous analysis’ to determine whether that is so.” Id. (citing Dukes, 564
U.S. at 351).

       Plaintiffs presented a model for the National TPP Class, but they do not do so for
the California Consumer Class. Rather, Plaintiffs merely allude to a methodology
described in another case. Plaintiffs say that Comanor is ready and willing to perform an
analysis using the methodology similar to the one performed in Krueger v. Wyeth, Inc., 396
F. Supp. 3d 931 (S.D. Cal. 2019) (“Krueger II”).168 But that analysis remains a mere
proposal.169

       While the methodologies described in Krueger II appear sound in principle, the
Court is skeptical that Plaintiffs have met their burden here. Plaintiffs cite no authority
suggesting that they may provide merely a proposal for a model calculating damages.170
The Court cannot conduct a rigorous analysis of a plan written, so to speak, on a paper
napkin. Comanor would need to apply the methodologies to the facts and data in this case
to show that they are consistent with Plaintiffs’ theory of liability. See Pulaski &
Middleman, LLC v. Google, Inc., 802 F.3d 979, 989 (9th Cir. 2015) (requiring that damages
be computed even if only an approximation for the purposes of restitution under
California law). In other words, Plaintiffs are obligated to show that their damages are
measurable, not that they could be. See Daniel F. v. Blue Shield of California, 305 F.R.D.


167
       See Sealed Reply 25:12-22.
168
       Id. at 24:8-25:2.
169
      Hearing Transcript 69:23-70:20 (emphasizing that Comanor “proposes” following the
methodology of Rosenthal in Krueger II, not that Comanor performed it).
170
       See Sealed Motion to Certify 43:9-5:2 & Sealed Reply 24:7-25:2.


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115, 128 (N.D. Cal. 2014). That burden may be easy to satisfy, but it nonetheless remains
Plaintiffs’ burden to satisfy, as the movant for class certification. Because Plaintiffs have
not done so, the Court must decline to certify the California Consumer Class. See Kim v.
Benihana, Inc, 2022 WL 1601393, at *12 (C.D. Cal. Mar. 25, 2022) (denying class
certification where the plaintiff did not present a damages model).

C.     Conclusion for the California Consumer Class

       Like the National TPP Class discussed in Part III above, the Court is persuaded
that the California Consumer Class easily meets the four requirements of Rule 23(a). The
California Consumer Class also satisfies the superiority prong of Rule 23(b)(3). But when
it comes to predominance, the role of individualized evidence appears far more
prominent, even though it varies slightly from claim to claim.

       A mix of common and individualized evidence would likely come into play with
respect to materiality, exposure, and the statute of limitations. Saying exactly how much,
though, is unclear. With far less evidence submitted to the Court with respect to the
California Consumer Class, predicting the precise proportions of individual and common
evidence needed to resolve the inquiries appears especially challenging. But at a
minimum, the importance of materiality to the element of reliance—which traverses the
CLRA, UCL, and FAL claims—transitively amplifies the importance of any evidence
related to that inquiry. On that element, the Court foresees a potentially far greater need
for individualized testimony, should Takeda and Lilly be able to marshal it.

       The California Consumer Class also differs from the National TPP Class in that,
for the latter class, Plaintiffs offer a compelling regression analysis to circumvent
individualized evidence on the element of injury with respect to Plaintiffs’ civil RICO
claims. In contrast, Plaintiffs do not offer such a solution for their UCL, FAL, or CLRA
claims. Plaintiffs instead rely on California law to provide them with a presumption of
reliance, but, as discussed, the facts here are too dissimilar from those in Tobacco II to
warrant a finding in Plaintiffs’ favor.

       Lastly, the Court is unpersuaded by Plaintiffs’ perfunctory efforts regarding their
damages model. Until a model is constructed, or an analysis is performed, Plaintiffs
receive a grade of “incomplete” with respect to damages and the predominance inquiry
under Rule 23(b)(3). That missing piece—in tandem with the milieu of individualized
questions discussed above—tips the balance against certifying the California Consumer
Class for all three of Plaintiffs’ claims.




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                                   V. DISPOSITION

       For the foregoing reasons, the Court hereby ORDERS as follows:

       1.     Plaintiffs’ Motion to Certify is GRANTED in part and DENIED in part:

             a.     The National TPP Class is CERTIFIED. Painters is preliminarily
       APPOINTED as class representative. R. Brent Wisner, Michael L. Baum, and
       Christopher L. Coffin are also preliminarily APPOINTED as Class Counsel.

              b.     The Court declines to certify the California Consumer Class.

       2.    The parties are DIRECTED to confer forthwith and to file no later than
June 16, 2023, a Joint Status Report that provides the Court with their jointly proposed
case schedule or, if the parties cannot agree, their respective competing proposed case
schedules and the reasons for their disagreement.

       3.     A Scheduling Conference is SET for June 30, 2023, at 11:00 a.m. in
Courtroom 9D of the Ronald Reagan Federal Building and U.S. Courthouse, 411 W. 4th
Street, Santa Ana, California.

      4.     Class Counsel is DIRECTED to propose a comprehensive notice plan for
the National TPP Class.

       IT IS SO ORDERED.



Dated: May 24, 2023
                                          John
                                          JJoh
                                             hn W.
                                                W. Holcomb
                                                                  JU
                                           UNITED STATES DISTRICT JUDGE




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